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 8                            UNITED STATES DISTRICT COURT

 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11    KAITLYN LAWRENCE, individually and              No. 2:23-cv-01005-DJC-AC
      on behalf of all others similarly
12    situated,
13                                                    ORDER DENYING MOTION TO COMPEL
                       Plaintiff,
                                                      ARBITRATION (ECF NO. 17) AND
14
             v.                                       GRANTING IN PART AND DENYING IN
15                                                    PART MOTION TO TRANSFER VENUE,
      FINICITY CORPORATION,                           OR, IN THE ALTERNATIVE, DISMISS
16                                                    COMPLAINT (ECF NO. 19)
                       Defendant.
17

18

19          Plaintiff Kaitlyn Lawrence brings an action on behalf of herself and putative sub-
20   classes of national and California consumers that used an application, website, or
21   online or Internet service provided by Defendant Finicity Corporation (“Finicity”).
22   According to the Complaint, Finicity allegedly used counterfeit trademarks to:
23   (1) impersonate financial institutions, (2) acquire login credentials from consumers
24   who thought that they were interacting with their financial institution, and (3) collect
25   and curate consumer data related to their financial institution’s account to then re-
26   package and sell to other businesses in the “financial technology” or “FinTech”
27   industry. As a result, Plaintiff alleges that Finicity has violated the federal Racketeering
28   Influenced and Corrupt Organizations Act (“RICO”), Utah’s Consumer Sales Practices

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 1   Act (“UCSPA”), unjust enrichment principles under Utah common law and equity, and

 2   California’s Anti-Phishing Act (“CAPA”). Finicity now seeks to compel arbitration of

 3   Plaintiff’s claims based on its Terms and Conditions, which contains a delegation

 4   clause. In the alternative, Finicity seeks transfer of the case to the federal district court

 5   in the District of Utah under 28 U.S.C. § 1404(a), or dismissal of Plaintiff’s claims for

 6   various reasons, including for failing to establish Article III and statutory standing.

 7          For the reasons set forth below, because the Court concludes that Finicity did

 8   not provide reasonably conspicuous notice of the arbitration provision, such that

 9   Plaintiff did not consent to it, the Court denies Finicity’s Motion to Compel Arbitration

10   (ECF No. 17). Further, while the Court rejects Finicity’s challenges to the state law

11   claims on the basis of Article III standing, the Court concludes that Plaintiff has not

12   established Article III or statutory standing under RICO, and, accordingly, dismisses

13   the first cause of action of the Class Action Complaint (ECF No. 1) with leave to

14   amend. However, the Court concludes that Plaintiff has sufficiently pled causes of

15   action under California’s Anti-Phishing Act, California Business & Professions Code

16   section 22948, et seq., and the Targeted Solicitations Ban under Utah’s Consumer

17   Sales Practices Act, Utah Code Annotated § 13-11-19. As for venue, Finicity fails to

18   show that transfer would amount to more than a shift in burden, which is not enough

19   to override Plaintiff’s preferred choice of forum in her home venue of the Eastern

20   District of California. Therefore, the Court denies the remainder of Finicity’s requests
21   in its Motion to Transfer Venue or, in the Alternative, Dismiss Complaint (ECF No. 19).

22                                         BACKGROUND

23   I.     Factual Allegations

24          A.     The Parties

25          Plaintiff lives in Sacramento County, where she “downloaded the Every Dollar

26   app on her smartphone and linked her PNC bank account to the app.” (Class Action
27   Compl. (ECF No. 1) ¶ 15 (“Complaint” or “Compl.”).) Plaintiff alleges that while on the

28   Every Dollar app, “she was presented with a fake login screen designed by” Finicity,

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 1   “which featured the PNC trademark and URL.” (Id.) “On this fake login page, she

 2   input her PNC bank account username and password, believing [that] she was

 3   interacting with PNC.” (Id.) Plaintiff “did not realize [that] she was giving away her

 4   sensitive financial information to Finicity.” (Id.)

 5           Finicity is a “software-as-a-service company that is hired by FinTech companies

 6   to link users’ bank accounts to their proprietary apps and websites.” (Compl. ¶ 16.)

 7   Finicity is domiciled in Utah (principal place of business) and in Delaware (state of

 8   incorporation). (See id.) “Finicity’s clients are primarily FinTech companies that

 9   provide credit monitoring, financial wellness, and payment processing [services] to

10   consumers through smartphone applications and websites.” (Id. ¶ 17 (citing Every

11   Dollar’s website as an example of one client).) “Finicity designs and provides the

12   software used to link FinTech applications [and services] to those consumers’ bank

13   accounts.” (Id.)

14           B.     Finicity’s Alleged Practices

15           According to the Complaint, “Finicity collects users’ login credentials for

16   purposes that far exceed the disclosed scope [of the Terms and Conditions and

17   Privacy Policy] in at least three ways.” (Compl. ¶ 18.) Finicity allegedly: (1) uses the

18   credentials for consumers “without any regard for what is needed to help the user

19   connect their financial accounts to apps[,]” and instead “acquires massive quantities of

20   data for its own purposes[;]” (2) “then uses the usernames and passwords to refresh
21   individuals’ account information on an ongoing basis, whether or not the individual

22   uses the FinTech app on a given day[,]” and “even if the user never uses the app

23   again[;]” and (3) finally “sells this data as part of large compilations of individual

24   transactions that remain traceable to particular individuals.” (Id.) “Nowhere does the

25   user give either the [financial technology] company or Finicity permission to do any of

26   this.” (Id.)
27           Finicity calls the above-described practice, “Financial data aggregation.”

28   (Compl. ¶ 19.) According to Finicity: “Financial data aggregation is a lot less

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 1   confusing than it sounds. The process involves compiling information from different

 2   accounts—including bank accounts, credit card accounts, investment accounts, loans

 3   and other financial accounts—into a single place.” (Id. ¶ 19 and n.23 (quoting Finicity’s

 4   website).) Crucially, Finicity sells the insights it gathers from consumers based on its

 5   financial data aggregation to rival banks to attract new customers and “provide[ ] data

 6   that can help . . . target new customers with specific offers that will be attractive to

 7   them . . . [and] expand service offerings.” (Id. ¶ 19 and n.25 (quoting Finicity’s

 8   website) (first omission added).) Apparently, Finicity’s financial data aggregation

 9   “provides lenders with ‘the best data for credit decision making[,]’” and “can

10   ‘[a]ugment credit reports with real-time data for better credit decisioning of customers

11   considered to be subprime,’ such as ‘cash flow analytics’ and ‘income verification.’”

12   (Id. ¶ 20.) Finicity “delivers the most current and accurate view of a borrower’s

13   finances.” (Id. ¶ 20 and nn. 28–29 (citations to Finicity’s website omitted).)

14          In the course of this financial data aggregation, Finicity allegedly engages in

15   certain deceptive practices. (See Compl. ¶ 23; also id. ¶¶ 35–36 (providing copies of

16   some trademarks Finicity has allegedly counterfeited).) Plaintiff complains that Finicity

17   uses counterfeit marks and URLs that are cyberpirated1 or deceptively use common

18   names for legitimate businesses without permission on the login screen themselves,

19   such that “[m]ost app users will simply turn over their usernames and passwords

20   falsely believing [that] they are directly interfacing with the bank itself.” (Id. ¶ 24.)
21   Plaintiff also complains that Finicity does not disclose that it collects user’s financial

22   institution credentials. (See id.) According to the Complaint, nowhere across three

23   separate sign-in windows “does Finicity disclose [that] it is a financial data analysis

24   broker. In fact, [the last two sign-in windows] suggest the opposite.” (Id. ¶ 25; see id.

25   ¶ 24 (providing Figures 7, 8, and 9 depicting the three separate sign-in windows).)

26   1
      See Cyberpiracy, Black’s Law Dictionary (11th ed. 2019) (“The act of registering a well-known name or
27   mark (or one that is confusingly similar) as a website’s domain name, usu[ally] for the purpose of
     deriving revenue.”); 15 U.S.C. § 1125(d) (codifying amendments to the Lanham Act that added the
28   Anticybersquatting Consumer Protection Act of 1999).


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 1   This case ultimately revolves around the disclosure contained in the second window

 2   and the visual presentation of it, as depicted in Figure 8, which is provided in

 3   Appendix A.

 4   II.     Procedural Background

 5           Plaintiff filed the Complaint in federal court, based on federal question

 6   jurisdiction and jurisdiction under the Class Action Fairness Act, on May 26, 2023.

 7   (See Compl. at 35.) On August 21, 2023, Finicity filed its present Motion to Compel

 8   Arbitration (ECF No. 17) and Motion to Change Venue or Dismiss (ECF No. 19). (See

 9   Finicity’s Mem. of P. and A. in Supp. of Mot. to Compel Arbitration (ECF No. 18)

10   (“Arbitration Motion” or “Arb. Mot.”); Finicity’s Mem. of P. and A. in Supp. of Mot. to

11   Transfer Venue Or, in the Alternative, Dismiss Compl. (ECF No. 20) (“Motion” or

12   “MTD”).) Finicity also filed an unopposed Request for Judicial Notice (ECF No. 23),

13   which the Court GRANTS.2 Plaintiff filed an Omnibus Opposition, and Finicity filed

14   separate Replies. (See Omnibus Opp’n to Finicity’s Arb. Mot. and MTD (ECF No. 29)

15   (“Opposition” or “Opp’n”); Finicity’s Reply Mem. of P. and A. in Further Supp. of Arb.

16   Mot. (ECF No. 30) (“Arbitration Reply” or “Arb. Reply”); Finicity’s Reply Mem. of P. and

17   A. in Further Supp. of MTD (ECF No. 31) (“Reply” or “MTD Reply”).) The Court heard

18   oral arguments on November 9, 2023, where Attorneys Stefan Bogdanovich and

19
     2
       The Court grants Finicity’s Request for Judicial Notice in Support of Finicity’s Motion (ECF No. 23) and
20   takes judicial notice of Exhibits A, B, C, D, and E (see ECF Nos. 21-1, 21-2, 21-3, 21-4, and 21-5), which
     contain Finicity’s End User License Agreement (its Terms and Conditions) revised as of November 18,
21   2019 (ECF No. 21-1), and Finicity’s Privacy Notices (its Privacy Policy) from February 19, 2020 (ECF No.
     21-5) through August 16, 2023 (ECF No. 21-2). The Court grants Finicity’s Request for Judicial Notice
22   because: (1) these agreements are not subject to reasonable dispute, as both parties rely on them, and
     the contents of the notices are capable of being accurately and readily determined from online sources
23
     whose accuracy cannot reasonably be questioned, see Fed. R. Evid. 201(b)(2); and (2) the agreements
     are like an agreement that governs the private relations of the parties, see, e.g., Correa v. A2 Railla Dev.,
24
     Inc., No. 2:22-cv-071280-DWP-DX, 2023 WL 6783987, at *2 (C.D. Cal. Apr. 7, 2023) (taking judicial
     notice of a collective bargaining agreement and collecting cases); Trudeau v. Google LLC, 349 F. Supp.
25
     3d 869, 876 (N.D. Cal. 2018) (taking judicial notice of the Terms of Service and other online contractual
     agreements), aff’d, 816 F. App’x 68 (9th Cir. 2020). However, so as to not create an unassailable fact for
26
     the future, the Court will incorporate these documents by reference and will presume their veracity at
27   this stage. See Khoja v. Orexigen Therapeutics, Inc., 899 F.3d 988, 998–99 (9th Cir. 2018). (See, e.g.,
     Compl. ¶ 8 (“A link to Finicity’s privacy policy or terms of use does not appear anywhere on the fake
28   login screen it designs.”); id. ¶ 30 and nn.34–35 (citing and quoting Finicity’s Privacy Policy); id. ¶ 34.)


                                                          5
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 1   Brittany S. Scott appeared for Plaintiff, and Attorneys Christopher G. Karagheuzoff,

 2   Maral Shoaei, and Rachel P. Stoian appeared for Finicity. (See ECF No. 35.) Both

 3   parties filed supplemental authorities regarding the Arbitration Motion. (See ECF

 4   Nos. 34, 36.) The matter is now fully briefed.

 5                                          DISCUSSION

 6   I.     Article III Standing and the Rule 12(b)(1) Motion

 7          A.     The Court Construes the Motion as Raising a Facial Attack

 8          A Rule 12(b)(1) jurisdictional attack may be facial or factual. Safe Air for

 9   Everyone v. Meyer, 373 F.3d 1035, 1039 (9th Cir. 2004) (“SAFE”) (citing White v. Lee,

10   227 F.3d 1214, 1242 (9th Cir. 2000)). In a facial attack, the challenger takes the

11   allegations in the complaint as true but challenges whether those allegations are

12   sufficient to invoke jurisdiction. See id. at 1039. By contrast, in a factual attack, the

13   challenger disputes the truth of the allegations that, by themselves, would otherwise

14   invoke federal jurisdiction. Id. The difference is crucial because a court errs when it

15   considers evidence outside of the pleadings in a facial attack. See, e.g., Salter v.

16   Quality Carriers, Inc., 974 F.3d 959, 964–65 (9th Cir. 2020) (vacating and remanding

17   the district court’s order that construed an attack as factual rather than facial, thus

18   applying the wrong standard). “For a facial attack, the court, accepting the allegations

19   as true and drawing all reasonable inferences in the [opponent’s] favor, ‘determines

20   whether the allegations are sufficient as a legal matter to invoke the court’s
21   jurisdiction.’” Salter, 974 F.3d at 964 (citation omitted). However, “[w]hen a factual

22   attack is mounted, the responding party ‘must support her jurisdictional allegations

23   with “competent proof” . . . under the same evidentiary standard that governs in the

24   summary judgment context.’” Id. (citations omitted).

25          Finicity argues that “Plaintiff has not pled sufficient facts to satisfy [her] burden,

26   so all of her claims must be dismissed.” (Mot. at 12.) Thus, the Court concludes that
27   Finicity brings a facial attack because Finicity does not challenge the truthfulness of

28   Plaintiff’s allegations, instead challenging their sufficiency. See Salter, 974 F.3d at 964.

                                                   6
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 1          B.     Plaintiff Adequately Pleads an Injury-in-Fact under CAPA and the
                   UCSPA’s Targeted Solicitations Ban
 2

 3                 1.     Legal Standard

 4          The “irreducible constitutional minimum of standing” contains three elements:

 5   (1) injury-in-fact; (2) causation; and (3) redressability. Newdow v. Lefevre, 598 F.3d

 6   638, 642 (9th Cir. 2010) (quoting Lujan v. Defs. of Wildlife, 504 U.S. 555, 560–61

 7   (1992)). First, the plaintiff must have suffered an injury-in-fact: an invasion of a legally

 8   protected interest which is (a) concrete and particularized, and (b) “actual or

 9   imminent, not ‘conjectural’ or ‘hypothetical[.]’” Lujan, 504 U.S. at 560 (citations

10   omitted). Second, there must be a causal connection between the injury and the

11   conduct complained of: the injury has to be “fairly . . . trace[able] to the challenged

12   action of the defendant, and not . . . th[e] result [of] the independent action of some

13   third party not before the court.” Id. at 560–61 (citation omitted). Third, it must be

14   “likely,” as opposed to merely “speculative,” that the injury will be “redressed by a

15   favorable decision.” Id. at 561 (citation omitted). Because Plaintiff seeks injunctive,

16   that is, prospective, relief (see Compl. ¶¶ 10, 72, 113), Plaintiff must also show more

17   than a past exposure to illegal conduct, and must show that she suffers from the

18   “continuing, present adverse effects[,]” City of Los Angeles v. Lyons, 461 U.S. 95, 102

19   (1983) (“Lyons”) (quoting O’Shea v. Littleton, 414 U.S. 488, 495–96 (1974)), or that

20   future harm is “certainly impending” or that there is a “substantial risk” that such harm

21   will occur. Clapper v. Amnesty Int’l USA, 568 U.S. 398, 414 and n.5 (2013) (quoting

22   Monsanto Co. v. Geertson Seed Farms, 561 U.S. 139, 153 (2010)). Where, as here, a

23   case is at the pleading stage, the plaintiff must “clearly . . . allege facts demonstrating”

24   each element. Spokeo, Inc. v. Robins, 578 U.S. 330, 339 (2016) (“Spokeo II”).

25          At base, Article III standing requires the plaintiff “[t]o demonstrate their

26   personal stake [in the case and] be able to sufficiently answer the question: What’s it

27   to you?” TransUnion LLC v. Ramirez, 594 U.S. 413, 423 (2021) (quoting Antonin Scalia,

28   The Doctrine of Standing as an Essential Element of the Separation of Powers, 17


                                                   7
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 1   Suffolk U. L. Rev. 881, 882 (1983)) (internal quotation marks omitted). Typically,

 2   plaintiffs demonstrate their personal stake through a “concrete” injury that “actually

 3   exist[s].” Phillips v. U.S. Customs & Border Prot., 74 F.4th 986, 991 (9th Cir. 2023)

 4   (quoting Spokeo II, 578 U.S. at 340). Tangible injuries, like physical harms or monetary

 5   losses, are concrete. Id. But “[a] concrete injury need not be tangible.” Id. (quoting

 6   Patel v. Facebook, Inc., 932 F.3d 1264, 1270 (9th Cir. 2019)). Moreover, a legislature

 7   may enact laws that protect substantive interests, a violation of which may constitute

 8   an injury-in-fact. Both the Supreme Court and the Ninth Circuit have recognized that

 9   legislatures are “well positioned to identify [tangible and] intangible harms that meet

10   minimum Article III requirements.” Spokeo II, 578 U.S. at 341; see TransUnion LLC,

11   594 U.S. at 462 (Kagan, J., dissenting). In cases involving a legislatively identified

12   harm, both courts counsel that “it is instructive to consider whether an alleged

13   intangible harm has a close relationship to a harm that has traditionally been regarded

14   as providing a basis for a lawsuit in English or American courts[,]” such as common law

15   torts or certain constitutional violations. Spokeo II, 578 U.S. at 341 (citing Vermont

16   Agency of Nat. Res. v. U.S. ex rel. Stevens, 529 U.S. 765, 775–77 (2000)); Phillips, 74

17   F.4th at 991.

18                   2.   Analysis
19                        a.     The Loss of Indemnification Rights and to the Value of
                                 Plaintiff’s Data Are Too Speculative to Confer Standing
20
21          Plaintiff’s first alleged harm — the loss of indemnification rights (see Compl.

22   ¶¶ 49–52) — is insufficient to confer standing. The identified harm is contingent upon

23   “a rogue actor at the Defendant us[ing] a consumers’ credentials to access and

24   improperly transfer funds from their accounts . . . .” (Id. ¶ 50; see id. ¶ 51). But Plaintiff

25   has failed to identify any “rogue actor,” and the Supreme Court has never held “that

26   the mere risk of future harm, without more, suffices to demonstrate Article III standing
27   in a suit for damages.” TransUnion LLC, 594 U.S. at 437. So too with Plaintiff’s third

28   alleged harm, the increased risk of identity theft. (See Compl. ¶¶ 58–60). Plaintiff fails

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 1   to allege that there ever was a breach or that she was ever targeted by a third party

 2   because of Finicity’s scheme. (Compare with MTD at 14–15 (collecting cases).) Thus,

 3   even though Plaintiff has spent time and money to monitor her credit and identity, she

 4   “cannot manufacture standing by incurring costs in anticipation of non-imminent

 5   harm.” Clapper, 568 U.S. at 422.

 6         Plaintiff’s second alleged harm revolves around the notion that Finicity’s

 7   financial data aggregation crowds out Plaintiff’s ability to market and sell her

 8   information and data. (See Compl. ¶¶ 53–57.) Plaintiff claims that “there is an

 9   economic value to the financial data that Finicity collects, analyzes, and sells about

10   Plaintiff and Class members.” (Id. ¶ 53.) True enough, but Plaintiff again fails to

11   specifically allege a pocketbook or economic injury to herself in the form of lost

12   money or property. Plaintiff complains that “Finicity’s unlawful conduct is a substantial

13   factor preventing the developing a market for Plaintiff and class members to sell

14   access to their data on their terms.” (Id. ¶ 55.) A market requires demand, however,

15   which assumes that there is at least someone able and willing to pay. Yet Plaintiff fails

16   to allege that she or any other putative class members did try to sell their individual

17   data and were unable to complete a sale. (Compare with MTD at 14 (collecting

18   cases).) If the presence of “‘some day’ intentions—without any description of concrete

19   plans, or indeed any specification of when the some day will be—do not support a

20   finding of the ‘actual or imminent’ injury that our cases require[,]” then the absence of
21   any stated “some day” intentions to sell one’s information and data is also fatal to

22   Plaintiff’s argument here. See Lujan, 504 U.S. at 564.

23                       b.     The Statutes Protect Concrete Interests

24         Perhaps recognizing the Complaint’s deficiencies, Plaintiff raises a new theory

25   of standing in her Opposition based on privacy interests purportedly protected by the

26   statutory claims she brings. (See Opp’n at 20–21 (citing Compl. ¶¶ 3–5, 9, 15, 19–21,
27   41, 46).) Finicity objects to this argument, pointing out that privacy is not mentioned

28   in the Complaint and that there is no claim for an invasion of privacy. (See MTD Reply

                                                 9
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 1   at 4.) Even if this case is ultimately about a direct injury to Plaintiff’s privacy rights and

 2   right to control her personal information, see, e.g., Patel, 932 F.3d at 1273 (quoting

 3   U.S. Dep’t of Just. v. Reps. Comm. For Freedom of Press, 489 U.S. 749, 763 (1989)

 4   (recognizing the common law’s protection of a privacy right)), the question for this

 5   Court is whether the statutes that provide a cause of action either (1) protect a

 6   substantive right, the invasion of which is an injury that confers standing, or (2)

 7   establish a procedural right, the violation of which creates a material risk of harm

 8   sufficient to confer standing. See Bassett v. ABM Parking Servs., Inc., 883 F.3d 776,

 9   782 (9th Cir. 2018) (first quoting Eichenberger v. ESPN, Inc., 876 F.3d 979, 982–84 (9th

10   Cir. 2017); and then citing Robins v. Spokeo, Inc., 867 F.3d 1108, 1114–17 (9th Cir.

11   2017) (“Spokeo III”)).

12                                i.     The Statutes Do Not Codify Privacy Rights

13          The Ninth Circuit has recognized that “the distinction between a ‘substantive’

14   statutory violation that alone creates standing, and a ‘procedural’ statutory violation

15   that may cause harm or a material risk of harm sufficient for standing[ ] can be a murky

16   one.” Bassett, 883 F.3d at 782 n.2. Nonetheless, the Ninth Circuit has explained that a

17   court “must always analyze whether the alleged harm is concrete, with an eye toward

18   history and congressional judgment . . . .” Id.

19          Here, Plaintiff tries to tie her Article III standing to her privacy rights in the

20   personal information Finicity obtains and to a somewhat similar case from the
21   Northern District of California, Cottle v. Plaid Inc., 536 F. Supp. 3d 461 (N.D. Cal.

22   2021). (See Opp’n at 21–22.) In Cottle, the plaintiffs alleged a cause of action under

23   several privacy-related statutes and CAPA, and the court held that the plaintiffs

24   established Article III standing “because each of their claims relate[d] to [the

25   defendant’s] alleged invasion of their privacy rights.” Cottle, 536 F. Supp. 3d at 480.

26   However, as Finicity points out, Cottle involved statutory causes of action that courts
27   had already found to protect substantive privacy rights (see MTD Reply at 6 and n.5

28   (collecting cases)), and the court in Cottle did not specifically analyze whether CAPA

                                                   10
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 1   protected a substantive privacy right or created a procedural right that protects

 2   against a material risk of harm (see id. at 6–7 and n.7). Therefore, Cottle is of little

 3   help.

 4           Turning to the question before the Court of whether CAPA or the UCSPA’s

 5   Targeted Solicitations Ban protect concrete interests sufficient to confer Article III

 6   standing, the Ninth Circuit has established a two-part test that “asks ‘(1) whether the

 7   statutory provisions at issue were established to protect [the plaintiff’s] concrete

 8   interests (as opposed to purely procedural rights), and if so, (2) whether the specific

 9   procedural violations alleged in this case actually harm, or present a material risk of

10   harm to, such interests.’” Patel, 932 F.3d at 1270–71 (quoting Spokeo III, 867 F.3d at

11   1113). The statutes at issue here, CAPA and the UCSPA’s Targeted Solicitations Ban,

12   function similarly and the analysis substantially overlaps between the two. CAPA

13   makes it “unlawful for any person, by means of a Web page, electronic mail message

14   or otherwise through use of the Internet, to solicit, request, or take any action to

15   induce another person to provide identifying information by representing itself to be a

16   business without the authority or approval of the business.” Cal. Bus. & Prof. Code

17   § 22948.2. The UCSPA’s Targeted Solicitations Ban similarly makes it unlawful for a

18   supplier3 “who is not the financial institution of an account holder [to] represent,

19   directly or indirectly, that the supplier is the financial institution of the account

20   holder[,]” Utah Code Ann. § 13-11-4.1(4), and makes it unlawful to engage in
21   “targeted solicitation,” which means:

22                   any written or oral advertisement or solicitation for products
                     or services that: (i) is addressed to an account holder;
23                   (ii) contains specific account information; (iii) is offered by a
                     supplier that is not sponsored by or affiliated with the
24                   financial institution that holds the account holder’s account;
                     and (iv) is not authorized by the financial institution that
25                   holds the account holder’s account.
26
27
     3
      A “supplier” under the UCSPA “means a seller, lessor, assignor, offeror, broker, or other person who
     regularly solicits, engages in, or enforces consumer transactions, whether or not he deals directly with
28   the consumer.” Utah Code Ann. § 13-11-3(6).


                                                        11
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 1   Id. § 13-11-4.1(1)(d).

 2          As for the first part of the test stated above, the two statutes do not protect

 3   privacy rights. Plaintiff’s reliance on the Second Restatement of Torts, the common-

 4   law tort of intrusion upon seclusion, and Ninth Circuit cases finding Article III standing

 5   under a statute that protected a substantive privacy right are unavailing here because

 6   it is not clear that either the California or Utah Legislatures intended to protect privacy

 7   rights in the passage of CAPA and the UCSPA’s Targeted Solicitations Ban. Compare

 8   with Eichenberger, 876 F.3d at 983 (finding standing where the statute at-issue, 18

 9   U.S.C. § 2710(b)(1), provided that “[a] video tape service provider who knowingly

10   discloses, to any person, personally identifiable information concerning any consumer

11   of such provider shall be liable to the aggrieved person . . . .”); Van Patten v. Vertical

12   Fitness Grp., LLC, 847 F.3d 1037, 1043 (9th Cir. 2017) (finding standing under the

13   Telephone Consumer Protection Act of 1991, where “Congress made specific findings

14   that ‘unrestricted telemarketing can be an intrusive invasion of privacy’ and are a

15   ‘nuisance.’”).

16          CAPA protects “identifying information,” which “means, with respect to an

17   individual any of the following:”

18                    (1) Social security number. (2) Driver’s license number.
                      (3) Bank account number. (4) Credit card or debit card
19                    number. (5) Personal identification number (PIN).
                      (6) Automated or electronic signature. (7) Unique biometric
20                    data. (8) Account password. (9) Any other piece of
                      information that can be used to access an individual’s
21                    financial accounts or to obtains goods or services.
22   Cal. Bus. & Prof. Code § 22948.1(b). The UCSPA’s Targeted Solicitations Ban protects

23   “specific account information,” which “includes: (A) a loan number; (B) a loan amount;

24   or (C) any other specific account or loan information.” Utah Code Ann. § 13-11-

25   4.1(1)(c)(ii). Aside from the exceptional reference to “unique biometric data” in CAPA,

26   much of the information covered by the two statutes is information that is maintained
27   by an entity providing a good or service for the individual and that is required to be

28   disclosed in certain circumstances (like the social security number, the driver’s license

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 1   number, the bank account number, the credit card or debit card number, and the loan

 2   number) and, as held by the Ninth Circuit, is not “so sensitive that another’s access to

 3   that information ‘would be highly offensive to a reasonable person’ or otherwise gives

 4   rise to reputational harm or injury to privacy interests.” Phillips, 74 F.4th at 996

 5   (quoting Restatement (Second) of Torts § 625B (Am. L. Inst. 1977)). Compare with id.

 6   (discussing “names, birthdays, social security numbers, occupations, addresses, social

 7   medica profiles, and political views and associations”); Patel, 932 F.3d at 1268–69

 8   (holding that a plaintiff had standing under an Illinois law “regulating the collection,

 9   use, safeguarding, and storage of biometrics[,]” including “biometric identifiers” such

10   as a “scan of hand or face geometry.”). Crucially, as stated in CAPA, the information

11   covered includes “any other piece of information that can be used to access an

12   individual’s financial accounts[,]” Cal. Bus. & Prof. Code § 22948.1(b)(9) (emphasis

13   added), so the violation is for the unauthorized access to and acquiring of this

14   information, not the unauthorized investigation or intrusion upon an individual’s

15   financial accounts. A potential injury to privacy under these statutes is therefore

16   dependent upon additional consequences to be actionable, unlike common-law

17   privacy torts, as the mere acquisition of this information does not necessarily violate a

18   person’s privacy or intrude upon their seclusion. Compare with Patel, 932 F.3d at

19   1274 (noting that, “[u]nder the common law, an intrusion into privacy rights by itself

20   makes a defendant subject to liability[,]” citing Restatement (Second) of Torts § 625(B),
21   and that “privacy torts do not always require additional consequences to be

22   actionable[,]”quoting Eichenberger, 876 F.3d at 983).

23          Looking to the records available for the enacting State Legislatures confirms the

24   conclusion that CAPA and the UCSPA’s Targeted Solicitations Ban do not “codif[y] a

25   context-specific extension of the substantive right to privacy[.]” Eichenberger, 876

26   F.3d at 983. For instance, CAPA grounded itself in the common law action of fraud,
27   not invasion of privacy. See Bill Analysis: Senate Floor Analyses on S.B. 355 Before the

28   S. R. Comm., 2005–06 Reg. Sess., at 2 (Cal. 2005) (“CAPA’s Second Senate Floor

                                                 13
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 1   Analyses”),

 2   https://leginfo.legislature.ca.gov/faces/billAnalysisClient.xhtml?bill_id=200520060SB

 3   355 [Perma.cc record: https://perma.cc/FF3M-79BR]. Similarly, the UCSPA’s Targeted

 4   Solicitations Ban is also focused on preventing fraud with the enrolled copy of the bill

 5   providing that it “enacts provisions in the Utah Consumer Sales Practices Act and the

 6   Financial Transaction Card Protection Act[ ]” that, in relevant part, “prohibits a supplier

 7   who is not the financial institution of an account holder from representing that the

 8   supplier is the financial institution of the account holder[.]” Consumer Sales Practices

 9   Amendments, H.B. 113, at 1, 63d Leg., Gen. Sess., 2020 Utah Laws Ch. 173 (enacted),

10   https://le.utah.gov/~2020/bills/static/HB0113.html [Perma.cc record:

11   https://perma.cc/PM2L-NXQGT]. Further revealing that these statutes are not about

12   privacy is that other laws contemplated by the same State Legislatures were explicitly

13   about privacy.4 Thus, the statutes do not protect substantive privacy rights. See

14   Spokeo III, 867 F.3d at 1113 (citation omitted).

15

16
     4
       See Internet — Anti-Phishing Act, 2005 Cal. Legis. Serv. Ch. 437 (S.B. 355) (West) (noting that “the
17   Consumer Protection Against Computer Spyware Act[ ] provides specified protections for the
     computers of consumers in this state against certain types of computer software.”),
18   https://leginfo.legislature.ca.gov/faces/billTextClient.xhtml?bill_id=200520060SB355 [Perma.cc
     Record: https://perma.cc/QM34-5M4T]; Bill Analysis: Hearing on S.B. 1436 Before the Sen. Jud. Comm.,
19   2003–04 Reg. Sess., at 1–2 (Cal. 2004) (noting that existing law, including the California Constitution and
     common law, recognize the right to privacy, and that the common law tort of trespass to chattels has
20   been applied to computer systems),
     https://leginfo.legislature.ca.gov/faces/billAnalysisClient.xhtml?bill_id=200320040SB1436 [Perma.cc
21   Record: https://perma.cc/95ZA-385U]; Electronic Information and Data Privacy Amendments, H.B. 383,
     at 1, 63d Leg., Gen. Sess. (Utah 2020) (proposing amendments that were filed in the Utah House but
22   not passed in the Utah Senate that “related to the privacy of electronic data and information.”),
     https://le.utah.gov/~2020/bills/static/HB0383.html [Perma.cc Record: https://perma.cc/6ZKS-BJXK];
23
     Electronic Information and Data Privacy Amendments, H.B. 87, at 1, 64th Leg., Gen. Sess., 2021 Utah
     Laws Ch. 42 (enacting amendments similar to those proposed in H.B. 383 “related to the privacy of
24
     electronic data and information.”), https://le.utah.gov/~2021/bills/static/HB0087.html [Perma.cc
     Record: https://perma.cc/7WWE-VDDT]; Utah Consumer Privacy Act, S.B. 249, at 1, 63d Leg., Gen.
25
     Sess. (Utah 2020) (proposing amendments that were filed in the Utah Senate but did not pass in the
     Utah Senate that would “create[ ] a cause of action for . . . the consumer to recover damages . . . from a
26
     business if the business fails to disclose personal information collected or sold, to delete personal
27   information upon the consumer’s request, or to stop selling a consumer’s personal information upon
     request[ ]”), https://le.utah.gov/~2020/bills/static/SB0249.html [Perma.cc Record:
28   https://perma.cc/ZV8T-RHSZ].


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 1                                    ii.     The Statutes’ Procedural Rights Prevent Fraud

 2           While CAPA and the UCSPA’s Targeted Solicitations Ban do not protect privacy

 3   interests, they do protect another interest that has a common-law analogue and that is

 4   raised by Plaintiff in the Complaint: the prevention of fraud, thus satisfying the first

 5   part of the Ninth Circuit’s test.5 See, e.g., CAPA’s Second Senate Floor Analyses, at 3

 6   (“Phishing is a widespread technique for obtaining personal information and is used

 7   to facilitate identity theft and other crimes.”); Utah Code Ann. § 13-11-4.1(1)(d), (3)–(4)

 8   (making it unlawful as a deceptive act or practice for a supplier to make a targeted

 9   solicitation using specific account information without a disclosure only if the sender

10   of the targeted solicitation is not affiliated or associated with the target’s financial

11   institution).

12           However, to satisfy the second part of the Ninth Circuit’s test, the Court must

13   still find that “the specific procedural violations alleged in this case actually harm, or

14   present a material risk of harm to, such interests.” Spokeo III, 867 F.3d at 1113; see

15   Jeffries v. Volume Servs. Am., Inc., 928 F.3d 1059, 1066 (D.C. Cir. 2019). Like the D.C.

16   Circuit finding a concrete injury-in-fact under the Fair and Accurate Credit

17   Transactions Act of 2003 (“FACTA”), codified at 15 U.S.C. § 1681c(g), and other courts

18   under similar laws enacting procedural protections,6 CAPA and the UCSPA’s Targeted

19   5
      While Plaintiff did not explicitly argue or allege that CAPA and the UCSPA’s Targeted Solicitations Ban
     establish a concrete injury-in-fact sounding in fraud, rather than privacy, as the Court concludes, it is
20   appropriate for the Court to consider this basis for Article III standing because Plaintiff did allege fraud
     or deceit generally. (See Compl. ¶¶ 1–4, 8, 15, 24–34, 55, 57, 60–61, 99–100, 106, 111.) Moreover,
21   courts have an independent obligation to determine whether subject-matter jurisdiction exists, even in
     the absence of a challenge from any party. Arbaugh v. Y&H Corp., 546 U.S. 500, 501 (2006) (citing
22   Ruhrgas AG v. Marathon Oil Co., 526 U.S. 574, 583 (1999)). And when a federal court has jurisdiction, it
     also has a "virtually unflagging obligation . . . to exercise" that authority. Mata v. Lynch, 576 U.S. 143,
23
     150 (2015) (quoting Colorado River Water Conservation Dist. v. United States, 424 U.S. 800, 817 (1976))
     (omission added in Mata).
24
     6
       See also Strubel v. Comenity Bank, 842 F.3d 181, 190–91 (2d Cir. 2016) (holding that the plaintiff had
25
     standing under the Truth in Lending Act, 15 U.S.C. § 1601, et seq., for procedural violations of the
     statute’s right to the informed use of credit where “[t]hese procedures afford such protection by
26
     requiring a creditor to notify a consumer, at the time he opens a credit account, of how the consumer’s
     own actions can affect his rights with respect to credit transactions[,]” and the defendant failed to follow
27
     certain disclosure requirements that could have led to missed payments or increased charges); Spokeo
28   III, 867 F.3d at 1115–17 (holding that the plaintiff had standing under the Fair Credit Reporting Act, 15
     U.S.C. § 1681, et seq., because the “procedures at issue in this case were crafted to protect

                                                         15
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 1   Solicitations Ban themselves “do[ ] not prohibit the crime of identity theft; instead,

 2   [they] establish[ ] a procedural requirement to ensure that consumers can use their

 3   credit and debit cards without incurring an increased risk of identity theft [and fraud].”

 4   Jeffries, 928 F.3d at 1066. For instance, California recognized that one argument in

 5   support of passing CAPA was to instill “[c]onfidence in the integrity of personal

 6   information transmitted via the Internet [that] remains an integral part of the medium’s

 7   development.” CAPA’s Second Senate Floor Analyses, at 5.

 8           Nonetheless, as the Supreme Court has now clarified: “No concrete harm, no

 9   standing.” TransUnion LLC, 594 U.S. at 442. Here, however, Plaintiff has alleged two

10   sufficiently concrete harms from the past to pursue monetary relief that, while

11   insufficient to support traditional Article III standing on their own, constitute sufficient

12   harm arising from the alleged statutory violations to provide standing.

13           First, Plaintiff alleged that the risk of future harm has materialized in the form of

14   the expenses she has paid for “ongoing costly credit monitoring services.” (Compl.

15   ¶ 59.) A personal pocketbook injury has always been enough for Article III standing

16   purposes, even if just a few pennies or a “trifle.” United States v. Students Challenging

17   Regul. Agency Procs. (SCRAP), 412 U.S. 669, 689 n.14 (1973) (quoting Kenneth C.

18   Davis, Standing: Taxpayers and Others, 35 U. Chi. L. Rev. 601, 613 (1968)); see, e.g.,

19   Van v. LLR, Inc., 61 F.4th 1053, 1064 (9th Cir. 2023) (“Any monetary loss, even one as

20   small as a fraction of a cent, is sufficient to support standing.”).
21           Second, Plaintiff alleges that Finicity has shared her personal financial

22   information and financial data with others, alleging that, as a result, “Finicity has

23   multiplied the number of targets for malicious actors[ ] [because] [i]t is hard to keep a

24   password secret between just two people[,] [and] [i]t is even harder to keep it secret

25
     consumers’ . . . concrete interest in accurate credit reporting about themselves[,]” and the defendant
     had disclosed such inaccurate information, thus implicating the statutory right); Tailford v. Experian Info.
26
     Sols., Inc., 26 F.4th 1092, 1099–1100 (9th Cir. 2022) (holding that the plaintiff had standing under the
27   Fair Credit Reporting Act where “alleged procedural violations protected substantive rights by
     requiring disclosures necessary for informed decision-making.” (citing Syed v. M-I, LLC, 853 F.3d 492,
28   497–99 (9th Cir. 2017))).


                                                         16
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 1   with three or more people.” (Compl. ¶ 58.) Finicity’s own User Agreement contained

 2   in its hyperlinked Terms and Conditions confirms that users like Plaintiff:

 3                 are authorizing Finicity to, among other things, (i) collect
                   your Consumer Credentials and Uploaded Data, (ii) instruct
 4                 Provider on your behalf to provide your Provider Account
                   Data to Finicity in order to provide Services to you (either
 5                 using your Consumer Credentials or through other means
                   with your Provider); (iii) retain and use, at least two times for
 6                 no less than a sixty (60) day period, your Consumer
                   Credentials for the provision of the Services; (iv) access,
 7                 retain, and use your Consumer Data in providing you
                   Services, at least two times for no less than a sixty (60) day
 8                 period; (v) compare Provider Account Data and Uploaded
                   Data in providing you Services, and/or (vi) disclose and
 9                 share your Consumer Data to service providers and/or
                   resellers to use in accordance with applicable law and for
10                 research and development.
11   (ECF No. 21-1 at 3.)

12          In addition to retaining Plaintiff’s financial information for itself, Finicity also

13   discloses it to “third party affiliates.” Specifically, the User Agreement states:

14                 You acknowledge that in accessing your data and
                   information through the Services, your Provider account
15                 access number(s), password(s), security question(s) and
                   answer(s), account number(s), login information, and any
16                 other security or access information, and the actual data in
                   your account(s) with such Provider(s) such as bank and
17                 other account balances, credit card charges, debits and
                   deposits (collectively, “Provider Account Data”), may be
18                 collected and stored in Services. You further acknowledge
                   that in providing or uploading your financial and/or
19                 employment documents, statements, records, or other
                   information (either directly to Finicity or through a third-
20                 party) (“Uploaded Data”), such Uploaded Data will be
                   stored and used in the Services. Provider Account Data and
21                 Uploaded Data are referred to collectively herein as
                   “Consumer Data”. You authorize us and our third party
22                 affiliates, in conjunction with the operation and hosting of
                   the Services, to use certain Consumer Data to (a) collect
23                 your Consumer Data, (b) reformat and manipulate such
                   Consumer Data, (c) create and provide hypertext links to
24                 your Provider(s), (d) access Providers’ websites using your
                   Consumer Data, (e) update and maintain your account
25                 information, (f) address errors or service interruptions,
                   (g) enhance the type of data and services we can provide to
26                 you in the future, and (h) take such other actions as are
                   reasonably necessary to perform the actions described in
27                 (a) through (g) above. You hereby represent that you are
                   the legal owner of your Consumer Data and that you have
28                 the authority to appoint, and hereby expressly do appoint

                                                   17
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 1                   us or our third-party affiliates as your attorney-in-fact and
                     agent, to access third-party sites and/or retrieve your
 2                   Consumer Data through whatever lawful means with the full
                     power and authority to do and perform each thing
 3                   necessary in connection with such activities, as you could
                     do in person, without limitation, accepting any new and/or
 4                   updated Terms and Conditions from your Provider on your
                     behalf, in providing Services to you. You also expressly
 5                   authorize Provider to share and disclose your Provider
                     Account Data to us on your behalf to facilitate your use of
 6                   your Provider Account Data for products and services
                     agreed to by you.
 7
     (ECF No. 21-1 at 3–4.) Thus, this case involves more than the mere retention of
 8
     information unlawfully obtained. Compare with Phillips, 74 F.4th at 996. As a result,
 9
     Plaintiff has pled facts establishing a concrete harm that has materialized from these
10
     statutory violations. See TransUnion LLC, 594 U.S. at 425.
11
             Furthermore, this is not a case where the risk of fraud or identity theft is minimal
12
     because of the information involved.7 The Complaint alleges that Finicity has
13
     information from which “Finicity can ‘[a]ugment credit reports with real-time data for
14
     better credit decisioning of customers considered to be subprime,’ such as ‘cash flow
15
     analytics’ and ‘income verification[,]’” (Compl. ¶ 20 (quoting Finicity’s website)), and its
16
     “profiling of people is so comprehensive they include attributes like [an individual’s]
17
     ‘TV and Streaming Services.’” (Id. ¶ 4.) That is, the information Finicity allegedly has
18
     access to is enough to defraud Plaintiff. See Jeffries, 928 F.3d at 1067 (“Because the
19
     receipt contained enough information to defraud Jeffries, she suffered an injury in fact
20
     at the point of sale.”). And unlike other cases where the plaintiff could take actions to
21
     prevent the fraud, Plaintiff cannot do so here because Finicity, not Plaintiff, gave away
22
     to others the information that can be used to access Plaintiff’s financial accounts.
23

24   7
       Indeed, as the Complaint alleges, and Finicity’s Terms and Conditions and Privacy Policy confirm,
     Plaintiff’s individual data is “s[old] as part of large compilations of individual transactions that remain
25
     traceable to particular individuals.” (Compl. ¶ 18; see also ECF No. 21-1 at 4 (discussing Finicity’s use of
     “compiled, anonymized data concerning your financial transactions, or other available data that is
26
     collected through your use of the Services[ ]”); ECF No. 21-2 at 6 (“We may use, share, or publicly
27   disclose or otherwise process your information that has been, de-identified, anonymized and/or
     aggregated (so that it does not identify you personally) for any purpose permitted under applicable
28   law, including for research and the development of new products.”).)


                                                         18
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 1   Thus, Finicity, not Plaintiff, is the best-situated person to regain control of that

 2   information. Compare with Bassett, 883 F.3d at 783 (finding no injury-in-fact where

 3   the plaintiff failed to allege “any risk of harm is real, ‘not conjectural or hypothetical,’

 4   given that he could shred the offending receipt along with any remaining risk of

 5   disclosure.”); Muransky v. Godiva Chocolatier, Inc., 979 F.3d 917, 931 (11th Cir. 2020)

 6   (finding no injury-in-fact for a Fair and Accurate Credit Transactions Act violation

 7   because “[i]f his receipt would not offer any advantage to identity thieves, we could

 8   hardly say that he was injured because of the efforts he took to keep it out of their

 9   hands.”).

10          Finicity finally argues that Plaintiff has a redressability problem, that is, Finicity

11   argues that Plaintiff cannot show how the relief she seeks will remedy her alleged

12   injuries. (See MTD Reply at 7.) Plaintiff seeks monetary relief, and a decision in her

13   favor would compensate her lost money paying for credit monitoring services. These

14   costs may fairly be attributed to Finicity because “in procedural-standing cases, we

15   tolerate uncertainty over whether observing certain procedures would have led to

16   (caused) a different substantive outcome[.]” Dep’t of Educ. v. Brown, 600 U.S. 551,

17   565–66 (2023) (citing Lujan, 504 U.S. at 572 n.7)

18          Moreover, Legislatures are “well positioned to identify intangible harms that

19   meet Article III requirements . . . .” Spokeo II, 578 U.S. at 341. Legislatures “ha[ve] the

20   power to define injuries and articulate chains of causation that will give rise to a case
21   or controversy where none existed before,” so long as the Legislature “at the very least

22   identif[ies] the injury it seeks to vindicate and relate the injury to the class of persons

23   entitled to bring suit.” Lujan, 504 U.S. at 580 (Kennedy, J., concurring in part and

24   concurring in judgment).

25          Here, for example, California found when passing CAPA that the fraudulent

26   practice it targeted, called “phishing,” had 78% of its perpetrators located in the
27   United States, with 15% of the scams originating in California, the most in the nation.

28   See CAPA’s Second Senate Floor Analyses, at 4. California also found that these

                                                   19
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 1   scams cost 76,000 consumers to lose money based on more than 100,000 reports of

 2   fraud, totaling over $193 million in losses in 2003 and 2004 alone, the year before

 3   CAPA was passed. See id. These findings are entitled to deference from courts,

 4   which should only override the Legislature’s decision to provide a cause of action if

 5   the Legislature “could not reasonably have thought a suit will contribute to

 6   compensating or preventing the harm at issue.” TransUnion LLC, 594 U.S. at 463

 7   (Kagan, J., dissenting); see, e.g., Spokeo III, 867 F.3d at 1115 (recognizing standing

 8   despite some differences between the statutory cause of action and the comparable

 9   common-law cause of action because courts “respect Congress’s judgment that a

10   similar harm would result from [the prohibited conduct].”). Here, Plaintiff’s complaints

11   plainly fall within the scope of both statutes.

12          As for the “continuing, adverse effects” required to seek prospective relief,

13   Lyons, 461 U.S. at 102 (quoting O’Shea, 414 U.S. at 493), the Court finds that there are

14   two. First, as explained above, there is a “substantial risk” that fraud or identity theft

15   will occur based on violations of CAPA and the UCSPA’s Targeted Solicitations Ban.

16   Clapper, 568 U.S. at 414 n.5 (citations omitted). Second, Plaintiff suffers the

17   “continuing, present adverse effects[ ]” of losing control over her information after

18   giving it to Finicity as a result of Finicity’s allegedly fraudulent conduct. See

19   Eichenberger, 876 F.3d at 983. These harms are traceable to Finicity because of its

20   alleged violations of CAPA and the UCSPA’s Targeted Solicitations Ban. Finally, a
21   decision in Plaintiff’s favor would be likely to remedy Plaintiff’s loss because an

22   injunction could compel Finicity to regain control of Plaintiff’s information. As stated

23   before, Finicity – not Plaintiff — is the best-situated problem-solver, as Finicity could go

24   up and down its supply and service chain to ask for Plaintiff’s information to be

25   returned and deleted from its “third part affiliates.” Thus, Plaintiff has established

26   Article III standing to pursue monetary and injunctive relief under CAPA and the
27   UCSPA’s Targeted Solicitations Ban.

28   ////

                                                  20
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 1                        c.      Plaintiff’s RICO Claim Is Too Speculative

 2                                i.     Plaintiff Lacks Article III Standing to Pursue Her
                                         RICO Claim
 3

 4          The Court concludes that Plaintiff has adequately pled an injury-in-fact because

 5   of the alleged violations of CAPA and the UCSPA’s Targeted Solicitations Ban. But

 6   standing is not dispensed in gross. Lewis v. Casey, 518 U.S. 343, 358 n.6 (1996).

 7   Plaintiff’s alleged pocketbook or market injury theory of standing is not sufficient to

 8   establish Article III standing to pursue her RICO claim without any allegations that she

 9   lost sales or suffered damage to her reputation or that she had preexisting potential

10   purchasers. Compare with Lexmark Int’l, Inc. v. Static Control Components, Inc., 572

11   U.S. 118, 125 (2014); Ass’n of Data Processing Serv. Organizations, Inc. v. Camp, 397

12   U.S. 150, 152 (1970). Accordingly, the Court dismisses the first cause of action

13   concerning RICO.

14          While Plaintiff may be able to amend her complaint to allege a chain of

15   inferences to establish her Article III standing to pursue her claim of lost sales or lost

16   profits without direct proof of diverted sales or business, see, e.g., TrafficSchool.com,

17   Inc. v. Edriver Inc., 653 F.3d 820, 825 (9th Cir. 2011), RICO standing is a more rigorous

18   matter than standing under Article III. Denney v. Deutsche Bank AG, 443 F.3d 253,

19   266 (2d Cir. 2006); see also TrafficSchool.com, Inc., 653 F.3d at 826 (“Evidence of

20   direct competition is strong proof that plaintiffs have a stake in the outcome of the
21   suit, so their injury isn’t ‘conjectural’ or ‘hypothetical.’” (quoting Lujan, 504 U.S. at

22   560)). To provide guidance to Plaintiff in amending her claims and for purposes of

23   judicial economy, the Court proceedings to the question of whether Plaintiff has

24   statutory standing under RICO, which the Court answers in the negative. Nonetheless,

25   the Court concludes that amendment would not be futile. See Foman v. Davis, 371

26   U.S. 178, 182 (1962).
27   ////

28   ////

                                                   21
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 1                                    ii.     Plaintiff Lacks Statutory Standing to Pursue Her
                                              RICO Claim
 2

 3           RICO provides a private cause of action for “[a]ny person injured in his business

 4   or property by reason of a violation of [18 U.S.C. § 1962(c)].” United Bhd. of

 5   Carpenters & Joiners of Am. v. Bldg. and Constr. Trades Dep’t, AFL-CIO, 770 F.3d 834,

 6   837 (9th Cir. 2014) (quoting 18 U.S.C. § 1964(c)). Subsections 1962(a) through (c)

 7   prohibit certain “pattern[s] of racketeering activity” in relation to an “enterprise.” Id.

 8   Subsection 1964(d) makes it illegal to conspire to violate subsections (a), (b), and (c) of

 9   section 1962. Id.

10           A prima facie RICO claim requires the plaintiff to assert: (1) conduct (2) of an

11   “enterprise” (3) through a “pattern” (4) of “racketeering activity” (known as “predicate

12   acts”) that (5) cause injury to plaintiff’s business or property. See, e.g., id. (quoting

13   Living Designs, Inc. v. E.I. Dupont de Nemours & Co., 431 F.3d 353, 361 (9th Cir. 2005)

14   (citations omitted)). Plaintiff alleges that Finicity, as the RICO enterprise,8 engaged in a

15   pattern of racketeering activity consisting of “intentionally traffick[ing] in . . . services

16   and knowingly us[ing] a counterfeit mark . . . in connection with such . . services” in

17   violation of 18 U.S.C. § 2320, which is identified as a predicate act under

18   Section 1961(1), the section providing definitions under RICO. (Compl. ¶ 81.) Plaintiff

19   alleges that “Finicity has repeatedly violated 18 U.S.C. § 2320(a) by trafficking

20   counterfeit marks of financial institutions in connection with its bank account linking

21   services by using such counterfeit marks on fake login screens on various FinTech

22   apps, including, but not limited to, Every Dollar.” (Id. ¶ 82.) Plaintiff provides nine

23   separate figures (Figures 10 through 18 of the Complaint) depicting what Plaintiff

24   alleges are counterfeit marks of several financial institutions that Finicity has used

25   without a license. (See id. ¶¶ 35–36, 83–84, 86.) Given the nature of the allegations,

26
27
     8
       For a claim under 18 U.S.C. § 1962(a), it is permissible to name the same party as the RICO “person”
     and RICO “enterprise.” See, e.g., Churchill Vill., L.L.C. v. Gen. Elec., 361 F.3d 566, 574 (9th Cir. 2004)
28   (citing Nugget Hydroelectric, L.P. v. Pac. Gas & Elec. Co., 981 F.2d 429, 437 (9th Cir. 1992)).


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 1   Plaintiff has alleged a pattern of two or more distinct instances of counterfeiting

 2   trademarks by Finicity, thus establishing a pattern of racketeering activity. (See id.

 3   ¶ 87.) As for the injury to business or property, California law recognizes protections

 4   for prospective business relations, a well-recognized injury to business or property for

 5   RICO purposes. See Diaz v. Gates, 420 F.3d 897, 900 (9th Cir. 2005) (en banc) (per

 6   curiam) (applying California law); Global Master Int’l Grp., Inc. v. Esmond Nat., Inc., 76

 7   F.4th 1266, 1274 (9th Cir. 2023) (citing Diaz, 420 F.3d at 900). Therefore, Plaintiff has

 8   established the prima facie elements to her RICO claim. See United Bhd. of

 9   Carpenters & Joiners of Am., 770 F.3d at 837.

10          In addition to the prima facie elements identified above, however, Plaintiff must

11   also establish statutory standing to bring a § 1962(a) RICO claim, which requires that a

12   plaintiff “allege facts tending to show that he or she was injured by the use or

13   investment of racketeering income.” Nugget Hydroelectric, L.P. v. Pac. Gas & Elec.

14   Co., 981 F.2d 429, 437 (9th Cir. 1992). The so-called “investment injury” requirement

15   arises from the Ninth Circuit’s reading of the “plain language” of § 1962(a) and

16   § 1964(c) to not “allow an individual to recover for injuries caused by an action that

17   does not constitute a violation of section 1962(a) [because] section 1964(c) speaks not

18   of an ‘element of a violation’ but rather only of a ‘violation.’” Id.

19          For investment injury, Plaintiff essentially argues that Finicity acquired

20   “racketeering income” from trafficking in counterfeit trademarks for financial
21   institutions in the form of “data” and other investment insights that Finicity then sold to

22   create the “financial data aggregation” function of the RICO “enterprise” as an

23   “undisclosed second line of business[.]” (Compl. ¶¶ 3, 18–19; see Opp’n at 24–26.)

24   But Plaintiff’s investment injury fails for two reasons: first, as a matter of law, and

25   second, as a matter of fact or proximate cause.

26          First, the Court is unconvinced that RICO — broad as it may be — is broad
27   enough to stretch the word “income” to mean “data.” (See Opp’n at 24.) While the

28   RICO statute is often interpreted broadly to “effectuate its remedial purposes,” Title IX

                                                   23
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 1   of the Organized Crime Control Act of 1970 § 904(a), Pub. L. No. 91-452, 84 Stat. 947;

 2   see also, e.g., Sedima, S.P.R.L. v. Imrex Co., 473 U.S. 479, 497–98 (1985), neither the

 3   common understanding of income nor the dictionary definition of the word suggests

 4   that it would encompass data. Black’s Law Dictionary (11th ed. 2019), for example,

 5   defines income as “money or other form of payment that one receives,” typically from

 6   employment, business, or the like. While it may be, as Plaintiff argues, that income

 7   could include something like Bitcoin or stocks that are easily liquidated, raw data is

 8   not so easily liquidated or transferred into cash to be understood as income.9

 9           Second, Plaintiff does not allege how the RICO violation is a proximate cause of

10   any injury to her. A civil RICO “plaintiff only has standing if, and can only recover to

11   the extent that, [s]he has been injured in h[er] business or property by the conduct

12   constituting the violation.” Canyon Cnty. v. Syngenta Seeds, Inc., 519 F.3d 969, 975

13   (9th Cir. 2008) (first quoting Sedima, S.P.R.L., 473 U.S. at 496; and then citing 18 U.S.C.

14   § 1964(c)). Federal courts interpret RICO’s “by reason of” language and similar

15   language in other statutes to require proximate causation and “some degree of

16   directness.” See, e.g., Fields v. Twitter, Inc., 881 F.3d 739, 745 (9th Cir. 2018) (citing

17   Holmes v. Sec. Inv. Prot. Corp., 503 U.S. 258 (1992), a RICO case, when interpreting

18   the Anti-Terrorism Act).

19           To have RICO standing, a plaintiff must therefore allege a “concrete financial

20   loss[,]” Diaz, 420 F.3d at 898 (quoting Oscar v. Univ. Students Co-op. Ass’n, 965 F.2d
21   783, 785 (9th Cir. 1992) (en banc)), not a loss of personal rights or discomfort and

22   annoyance, see id. (quoting Oscar, 965 F.2d at 785). The Ninth Circuit instructs courts

23
     9
      The Court also notes that a United States House of Representatives Report on the Organized Crime
24
     Act, which contained the RICO act, defined a “substantial source of income” for a related section on
     Dangerous Special Offenders, 18 U.S.C. §§ 3575–78, by reference to what a “workingman receives
25
     under the Fair Labor Standards Act.” H.R. Rep. No. 91-1549, at 61–62, reprinted in 1970 U.S.C.C.A.N.
     4007, 4039. Despite the ubiquity of data in the modern economy, data, by itself, is still not “income”
26
     that can supply a “workingman’s” wages, and, therefore, cannot be said to fall within the scope of RICO
27   with sufficient “clarity and predictability” to support a criminal or civil violation. H.J. Inc. v. Nw. Bell Tel.
     Co., 492 U.S. 229, 255 (1989) (Scalia, J. concurring in the judgment) (citing Fed. Commc’ns Comm’n v.
28   Am. Broad. Co., 347 U.S. 284, 296 (1954)).


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 1   to “typically look to state law to determine ‘whether a particular interest amounts to

 2   property[.]’” Id. at 899 (quoting Doe v. Roe, 958 F.2d 763, 768 (7th Cir. 1992)).

 3           For her RICO cause of action, Plaintiff essentially alleges a competitive injury,

 4   that is, a harm to Plaintiff’s ability to compete in the marketplace, arguing that Finicity

 5   has caused Plaintiff to lose control over her financial data and information (see Opp’n

 6   at 25; Compl. ¶ 90), and that “[b]y stealing Plaintiff and Class members’ data without

 7   their informed consent, Finicity impedes the possibility of a robust and equitable

 8   market for consumer data where Plaintiff and Class members could be compensated.”

 9   (Compl. ¶ 57.)10 Plaintiff also alleges that Finicity’s RICO activity injured her through

10   the increased risk of identity theft and ongoing costly credit monitoring services, but

11   these are more like the discomforts and annoyance found insufficient in Diaz. See 420

12   F.3d at 898 (quoting Oscar, 965 F.2d at 785).

13           As for the competitive injury, Plaintiff fails to allege a “concrete financial loss.”

14   Diaz, 420 F.3d at 898 (quoting Oscar, 965 F.2d at 785). Critically, Plaintiff does not

15   allege that she tried to sell her data to a willing and able buyer but was boxed-out

16   because of Finicity’s deal. Compare with, e.g., World Wrestling Ent., Inc. v. Jakks Pac.,

17   Inc., 530 F. Supp. 2d 486, 520–24 (S.D.N.Y. 2007), aff’d, 328 F. App’x 695 (2d Cir.

18   2009); Kelco Constr., Inc. v. Spray in Place Sols., LLC, No. 18-cv-5925-SJF-SIL, 2019 WL

19   4467916, at *2–3 (E.D.N.Y. Sept. 18, 2019); Tatung Co. v. Shu Tze Hsu, 43 F. Supp. 3d

20   1036, 1043–45, 1058–59 (C.D. Cal. 2014). While Plaintiff alleges that Finicity has
21   inhibited an allegedly nascent market in individually commodified consumer financial

22   data, “[Plaintiff] never alleged that she had wanted or tried to [sell her

23
     10
       In this regard, Plaintiff’s complaints are not too different from the artists complaining about computer
24
     models with artificial intelligence capabilities trained on their work, alleging that these companies are
     stealing their work by reproducing it and creating similar works of a kind the artist would make, thereby
25
     “represent[ing] ‘unfair competition against’” the artists. Andersen v. Stability AI Ltd., --- F. Supp. 3d. ----,
     No. 23-cv-00201-WHO, 2023 WL 7132064, at *2 (N.D. Cal. Oct. 30, 2023) (granting motion to dismiss
26
     with leave to amend). In that case, however, there is a much more readily identifiable market, as that
27   case involved plaintiffs who were established artists (of varying degrees of success) and who had
     established property rights via their alleged copyrights in several images that were scraped and
28   copied. See id. at ----, *2.


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 1   data,] . . . rendering ‘[a]ny supported loss . . . purely speculative.’” Diaz, 420 F.3d at

 2   898 (citation omitted). This is especially so because Plaintiff’s data, on its own, might

 3   not be valued by others. This is particularly fatal to any RICO cause of action Plaintiff

 4   intends to bring because the phrase “business or property” in 18 U.S.C. § 1964(c) has

 5   “restrictive significance[,]” Oscar, 965 F.2d at 786 (quoting Reiter v. Sonotone Corp.,

 6   442 U.S. 330, 339 (1979)), which the Ninth Circuit has repeatedly interpreted to

 7   “require[ ] proof of concrete financial loss, and not mere ‘injury to a valuable

 8   intangible property interest.’” Id. at 785 (quoting Berg v. First State Ins. Co., 915 F.2d

 9   460, 464 (9th Cir. 1990)).11

10           C.       Conclusion

11           Although the three harms Plaintiff identifies in the Complaint are too

12   speculative to support Article III standing on their own, the Court finds that Plaintiff

13   suffered a concrete injury-in-fact when Finicity allegedly violated CAPA and the

14   UCSPA’s Targeted Solicitations Ban, which require some sort of affiliation or

15   association with a financial institution before seeking information related to an

16   account holder, thereby creating a material risk of increased identity theft and fraud,

17   the very harm the statutes sought to ameliorate. See Patel, 932 F.3d at 1275 (citing

18   Dutta v. State Farm Mut. Auto. Ins. Co., 895 F.3d 1166, 1174 (9th Cir. 2018)).

19   Therefore, the Court DENIES Finicity’s Motion to Dismiss Plaintiff’s Complaint for lack

20   of Article III standing as to Counts 2, 3 and 4. (See MTD at 12–16.) However, the Court
21   GRANTS the Motion to Dismiss Count 1 in the Complaint, the RICO cause of action,

22   with leave to amend.

23
     11
       A comparison to other cases in which a plaintiff had RICO standing are instructive. Unlike in Ideal
24
     Steel V, Plaintiff does not allege that she is an established competitor in the relevant market and that
     Finicity has invested new funds to become a direct competitor where it was not before, thereby more
25
     clearly alleging how Finicity’s RICO activity is taking business from Plaintiff. Compare with Ideal Steel
     Supply Corp. v. Anza, 652 F.3d 310, 324 (2d Cir. 2011). And unlike in Mendoza, Plaintiff has not alleged
26
     that Finicity can essentially dictate the prices. Compare with Mendoza v. Zirkle Fruit Co., 301 F.3d 1163,
27   1171 (9th Cir. 2002). Without such allegations, Plaintiff will have a difficult time proving that Plaintiff lost
     any sales, as the Ninth Circuit has recognized the practical differences and accompanying difficulties in
28   proving future losses as opposed to current losses. See Diaz, 420 F.3d at 900–01.


                                                           26
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 1   II.    Motion to Compel Arbitration

 2          A.     Legal Standard

 3          The Federal Arbitration Act (“FAA”) governs arbitration agreements. 9 U.S.C.

 4   § 2. The FAA affords parties the right to obtain an order directing that arbitration

 5   proceed in the manner provided for in the agreement. 9 U.S.C. § 4. To decide on a

 6   motion to compel arbitration, a court must determine: (1) whether a valid agreement

 7   to arbitrate exists and, if it does, (2) whether the agreement encompasses the dispute

 8   at issue. Boardman v. Pac. Seafood Grp., 822 F.3d 1011, 1017 (9th Cir. 2016).

 9   Arbitration is a matter of contract, and the FAA requires courts to honor parties’

10   expectations. AT&T Mobility LLC v. Concepcion, 563 U.S. 333, 351 (2011) (citing Rent-

11   A-Ctr., W., Inc. v. Jackson, 561 U.S. 63, 67–69 (2010)). However, parties may use

12   general contract defenses to invalidate an agreement to arbitrate. See id. at 339.

13   Thus, a court should order arbitration of a dispute only where satisfied that neither the

14   agreement’s formation nor its enforceability or applicability to the dispute is at issue.

15   See Granite Rock Co. v. Int’l Bhd. of Teamsters, 561 U.S. 287, 299–300 (2010). “Where

16   a party contests either or both matters, ‘the court’ must resolve the disagreement,”

17   Granite Rock Co., 561 U.S. at 299, because “a party cannot be required to submit to

18   arbitration any dispute which [it] has not agreed so to submit.” Knutson v. Sirius XM

19   Radio Inc., 771 F.3d 559, 565 (9th Cir. 2014) (quoting United Steelworkers of Am. v.

20   Warrior & Gulf Nav. Co., 363 U.S. 574, 582 (1960) (alteration omitted)). If a valid
21   arbitration agreement encompassing the dispute exists, arbitration is mandatory. See

22   Dean Witter Reynolds, Inc. v. Byrd, 470 U.S. 213, 218 (1985). Under § 3 of the FAA, a

23   court, “upon being satisfied that the issue involved . . . is referable to arbitration under

24   such an agreement, shall on application of one of the parties stay the trial of the action

25   until such arbitration has been had in accordance with the terms of the

26   agreement . . . .” 9 U.S.C. § 3.
27          The party seeking to compel arbitration bears the burden of proving by a

28   preponderance of the evidence the existence of a valid agreement to arbitrate. See

                                                 27
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 1   Ashbey v. Archstone Prop. Mgmt., Inc., 785 F.3d 1320, 1323 (9th Cir. 2015). In

 2   resolving a motion to compel arbitration, “[t]he summary judgment standard [of

 3   Federal Rule of Civil Procedure 56] is appropriate because the district court’s order

 4   compelling arbitration ‘is in effect a summary disposition of the issue of whether or not

 5   there had been a meeting of the minds on the agreement to arbitrate.’” Hansen v.

 6   LMB Mortg. Servs., Inc., 1 F.4th 667, 670 (9th Cir. 2021) (quoting Par-Knit Mills, Inc. v.

 7   Stockbridge Fabrics Co., 636 F.2d 51, 54 n.9 (3d Cir. 1980)). Under this standard of

 8   review, “[t]he party opposing arbitration receives the benefit of any reasonable doubts

 9   and the court draws reasonable inferences in that party’s favor, and only when no

10   genuine disputes of material fact surround the arbitration agreement’s existence and

11   applicability may the court compel arbitration.” Smith v. H.F.D. No. 55, Inc., No. 2:15-

12   cv-01293-KJM-KJN, 2016 WL 881134, at *4 (E.D. Cal. Mar. 8, 2016). A material fact is

13   genuine if “the evidence is such that a reasonable jury could return a verdict for the

14   nonmoving party.” Hanon v. Dataproducts Corp., 976 F.2d 497, 500 (9th Cir. 1992)

15   (quoting Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986)). Conversely,

16   “[w]here the record taken as a whole could not lead a rational trier of fact to find for

17   the nonmoving party, there is no ‘genuine issue for trial.’” Id. (quoting Matsushita Elec.

18   Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986)).

19          B.     Analysis

20                 1.     Legal Standards Governing Consent in the Context of Internet-
                          Based Agreements
21

22          Plaintiff opposes arbitration, mostly relying on the argument that she did not

23   assent. (See Opp’n at 4–19.) Plaintiff also argues that the arbitration clause is

24   unconscionable. (See id. at 19–20.) However, as the Court concludes that there is not

25   a valid arbitration agreement in the first place, the Court need not reach the issue of

26   unconscionability. See, e.g., Knutson, 771 F.3d at 569.
27          The Supreme Court has repeatedly proclaimed that “the first principle that

28   underscores all of our arbitration decisions” is that “[a]rbitration is strictly a matter of

                                                   28
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 1   consent.” Lamps Plus, Inc. v. Varela, 587 U.S. ----, ----, 139 S. Ct. 1407, 1415 (2019)

 2   (quoting Granite Rock Co. v. Int’l Bhd. of Teamsters, 561 U.S. 287, 299 (2010)) (first

 3   alteration omitted). Consent is required for every contract, but the “’principle of

 4   knowing consent applies with particular force to provisions for arbitration,’ including

 5   arbitration provisions contained in contracts purportedly formed over the internet[.]”

 6   Sellers v. JustAnswer LLC, 73 Cal. App. 5th 444, 460 (2021) (quoting Windsor Mills,

 7   Inc. v. Collins & Aikman Corp., 25 Cal. App. 3d 987, 993 (1972)). To determine

 8   whether knowing consent has been established when forming a contract over the

 9   Internet, courts have created a constructive or inquiry notice framework, which

10   requires Finicity to show that: ”(1) the website provides reasonably conspicuous notice

11   of the terms to which the consumer will be bound; and (2) the consumer takes some

12   action, such as clicking a button or checking a box, that unambiguously manifests his

13   or her assent to those terms.” Berman v. Freedom Fin. Network, LLC, 30 F.4th 849,

14   856 (9th Cir. 2022). Finicity and Plaintiff mostly agree on the two-step standard the

15   Court is to apply, which largely derives from interpretation of the Sellers case.

16          In the seminal case of Sellers, the California appellate court categorized

17   contracts formed over the Internet, distinguishing between: (1) browsewraps, (2) sign-

18   in or sign-up wraps, (3) scrollwraps, and (4) clickwraps. See Sellers, 73 Cal. App. 5th at

19   463 (citing Selden v. Airbnb, Inc., No. 16-cv-00933-CRC, 2016 WL 6476934, at *4

20   (D.D.C. Nov. 1, 2016), aff’d, 4 F.4th 148 (D.C. Cir. 2021)). As recognized in Sellers,
21   California “court[s] and federal courts have reached consistent conclusions when

22   evaluating the enforceability of agreements at either end of the spectrum, generally

23   finding scrollwrap and clickwrap agreements to be enforceable and browsewrap

24   agreements to be unenforceable.” Id. at 466. Although categorization is important, it

25   is not dispositive. See id. at 466 (quoting Meyer v. Uber Techs., Inc., 868 F.3d 66, 76

26   (2d Cir. 2017)). Ultimately, the question is whether the disclosure provides reasonably
27   conspicuous notice, which, though a question of law, is a fact-intensive inquiry. See id.

28   at 473 (quoting Meyer, 868 F.3d at 76).

                                                 29
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 1          In rejecting the call to adopt any bright-line rules, see Sellers, 73 Cal. App. 5th

 2   at 474, the Sellers court provided criteria that federal courts “have generally

 3   considered . . . when determining whether a textual notice is sufficiently conspicuous

 4   under California law.” Id. at 473 (first citing Long v. Provide Com., Inc., 245 Cal. App.

 5   4th 855, 866 (2016); and then citing Nguyen v. Barnes & Noble Inc., 763 F.3d 1171,

 6   1177–78 (9th Cir. 2014)). To examine whether a textual notice is sufficiently

 7   conspicuous to put an individual on notice under California law, courts evaluate

 8   factors including: (1) the size of the text; (2) the color of the text compared to the

 9   background; (3) the location of the text and its proximity to where the user clicks to

10   consent; (4) the obviousness of an associated hyperlink; and (5) other elements on the

11   screen which clutter or obscure the textual notice. In re Stubhub Refund Litig., No. 22-

12   15879, 2023 WL 5092759, at *2 (9th Cir. Aug. 9, 2023) (mem.) (non-precedential)

13   (citing Sellers, 73 Cal. App. 5th at 473).

14          The Sellers court rejected prior decisions that focused on a hypothetical

15   Internet consumer of varying degrees of “reasonableness” and savvy. See Sellers, 73

16   Cal. App. 5th at 475. Instead, “the onus must be on website owners to put users on

17   notice of the terms to which they wish to bind consumers[ ]” because they have

18   “complete control over the design of their websites and can choose from myriad ways

19   of presenting contractual terms to consumers online.” Id. at 475–76 (quoting Long,

20   245 Cal. App. 4th at 867). Given the breadth of the range of technological savvy of
21   online purchasers, consumers cannot be expected to ferret out hyperlinks to terms

22   and conditions to which they have no reason to suspect they will be bound. Id. at 476

23   (quoting Long, 245 Cal. App. 4th at 867 (quotation marks omitted)).

24                 2.     The Form of the Notice

25          Here, the Court finds that Finicity’s Disclosure Page provides a sign-in or sign-

26   up wrap agreement because: (1) the website does take some steps to draw attention
27   to the Terms and Conditions, but (2) the website does not require a user to

28   acknowledge or view the Terms and Conditions before proceeding. See Sellers, 73

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 1   Cal. App. 5th at 463–64. And though categorization is not dispositive, see id. at 466,

 2   some judges have cautioned that, “[g]iven the present state of California law, website

 3   designers who knowingly choose sign-in wrap . . . over clickwrap and scrollwrap

 4   designs practically invite litigation over the enforceability of their sites’ terms and

 5   conditions . . . .” Berman, 30 F.4th at 868 n.4 (Baker, J., concurring).

 6          Finicity argues that its disclosure satisfies the five criteria identified in Sellers,

 7   stating that the Disclosure Page:

 8                  takes up one full screen; the notice is the same legible size
                    as the other text on the screen (other than the title and the
 9                  “Next” button); the notice informs users that by clicking the
                    “Next” button, they are agreeing to the “Terms and
10                  Conditions” and “Privacy Policy,” and uses bold black font
                    for the word “Next”; the words “Terms and Conditions” and
11                  “Privacy policy” are in red text, clearly indicating they are
                    hyperlinks to those terms; there is a square icon with an
12                  arrow pointing to the upper-right corner ([ ]) following the
                    red hyper-linked text, which icon is commonly recognized
13                  as evidence of an external link; and the notice is
                    immediately above the “Next” button.
14

15   (Arb. Mot. at 8 (citing Compl. at 12 and Figure 8.)

16          Viewed in isolation, the visual elements of Finicity’s Disclosure Page are similar

17   to those found to be sufficiently conspicuous in other cases, and that have been

18   reproduced in Appendix B12 of this Order. The overall design of the Disclosure Page

19   is relatively clean and free of clutter, the text of the hyperlink is in a separate color

20   12
       For examples of disclosures that did provide reasonably conspicuous notice, see Decl. of Jeremy
     Davie in Supp. of Defendant Payward, Inc.’s Mot. to Compel Arbitration (ECF No. 12-2) at 5, Singh v.
21   Payward, Inc., No. 3:23-cv-01435-CRB, 2023 WL 5420943 (N.D. Cal. Aug. 22, 2023); Hooper v. Jerry Ins.
     Agency, LLC, --- F. Supp. 3d ----, No. 22-cv-04232-JST, 2023 WL 3992130, at *1 (N.D. Cal. June 1, 2023);
22   Houtchens v. Google LLC, 649 F. Supp. 3d 933, 940–41 (N.D. Cal. 2023); Oberstein v. Live Nation Ent.,
     Inc., No. CV 20-3888-GW-GJSx, 2021 WL 4772885, at *1 (C.D. Cal. Sept. 20, 2021), aff’d, 60 F.4th 505
23
     (9th Cir. 2023); Capps v. JPMorgan Chase Bank, N.A., No. 2:22-cv-00806-DAD-JDP, 2023 WL 3030990
     (E.D. Cal. Apr. 21, 2023); Saucedo v. Experian Info. Sols., Inc., No. 1:22-cv-01584-ADA-HBK, 2023 WL
24
     4708015 (E.D. Cal. July 24, 2023); Pizarro v. QuinStreet, Inc., No. 22-cv-02803-MMC, 2022 WL 3357838,
     at *1 (N.D. Cal. Aug. 15, 2022); In re Stubhub Refund Litig., No. 22-15879, 2023 WL 5092759, at *2 (9th
25
     Cir. Aug. 9, 2023) (mem.) (non-precedential). For examples of disclosures that did not provide
     reasonably conspicuous notice, see Appendix C, citing to the following cases: Sellers, 73 Cal. App. 5th
26
     at 454; Berman, 30 F.4th at 859–61; Serrano v. Open Rd. Delivery Holdings, Inc., 666 F. Supp. 3d 1089,
27   1093 (C.D. Cal. 2023); Decl. of Nina Bayatti in Supp. of Def.’s Mot. to Compel Arbitration and Dismiss
     and/or Stay Case Ex. 1 (ECF No. 18-1), at 8, Chabolla v. ClassPass Inc., No. 4:23-CV-00429-YGR, 2023
28   WL 4544598 (N.D. Cal. June 22, 2023).


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 1   from the black-colored text, and there is a pop-out window icon at the end of the

 2   written disclosure by the hyperlink to the Privacy Policy.

 3          On the other hand, certain elements of the Disclosure Page undermine the

 4   conspicuousness of the notice. The color of the hyperlinks is not blue, a color that is

 5   normally used for hyperlinks, but rather is the same color as the Next button, thus

 6   reducing the visibility of the hyperlinked text. Compare with Oberstein v. Live Nation

 7   Ent., Inc., 60 F.4th 505, 517 (9th Cir. 2023) (“In contrast with the agreements

 8   invalidated in Berman and Sellers, the Terms here were marked in bright blue font and

 9   distinguished from the rest of the text.”); Berman, 30 F.4th at 857 (“Customary design

10   elements denoting the existence of a hyperlink include the use of a contrasting font

11   color (typically blue) and the use of all capital letters, both of which can alert a user

12   that the particular text differs from other plain text in that it provides a clickable

13   pathway to another page.”). Moreover, even though there is a pop-out window icon

14   at the end of the disclosure by the hyperlink to the Privacy Policy, there is not a similar

15   icon for the other hyperlink to the Terms and Conditions containing the arbitration

16   provision, which might suggest that the Privacy Policy is the only hyperlink. Together,

17   these defects distract a user from the disclosure and the hyperlink to the arbitration

18   provision, which are deemphasized by comparison. See Berman, 30 F.4th at 857.

19                 3.     The Context of the Transaction

20          While looking at the Disclosure Page in isolation might lead to a conclusion that
21   Finicity provided reasonably conspicuous notice, the Court concludes that in the

22   specific context of this case — where Plaintiff had already entered into a transaction

23   with an entity and was not expecting to agree to yet another set of Terms and

24   Conditions with a heretofore unknown entity — the disclosure is insufficient. See

25   Sellers, 73 Cal. App. 5th at 481 (“As the courts in Long and Specht acknowledged, the

26   transactional context is an important factor to consider and is key to determining the
27   expectations of a typical consumer.”) Though Defendant disputes the relevance of

28   that context, under both California and Ninth Circuit caselaw, context is critical.

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 1          In Sellers, the California Court of Appeal emphasized that “the full context of

 2   the transaction is critical to determining whether a given textual notice is sufficient to

 3   put an internet consumer on inquiry notice of contractual terms.” Id. at 477.

 4   Specifically, in determining that the arbitration notice was not sufficiently conspicuous

 5   to bind the parties, the Sellers court first considered the fact that “the transaction [wa]s

 6   one in which the typical consumer would not expect to enter into an ongoing

 7   contractual relationship, regardless of whether the transaction occurs online or in

 8   person.” Id. at 476. There, the court noted that it was “questionable whether a

 9   consumer buying a single pair of socks, or signing up for a free trial, would expect to

10   be bound by contractual terms, and a consumer that does not expect to be bound by

11   contractual terms is less likely to be looking for them.” Id; see also Berman, 30 F.4th at

12   868 (Baker, J., concurring) (“That in turn means that the conspicuousness of these

13   sites’ textual notices must undergo the most rigorous scrutiny, because a reasonably

14   prudent user would not have been on the lookout for fine print.”).

15          Plaintiff argues that, similar to Sellers, the Disclosure Page and the context in

16   which a user encounters and interacts with the Disclosure Page provide “no reason to

17   be on the lookout for contractual terms when she clicks Next on the EveryDollar app.”

18   (Opp’n at 10 (emphasis added in original).) Plaintiff points to the fact that she already

19   entered into a separate transaction with Every Dollar before proceeding to Finicity’s

20   Disclosure Page where she encountered Finicity for the first time. (See Opp’n at 11;
21   Compl. ¶¶ 24–27, 31–34.) She then cites to cases finding more distinctive features in a

22   notice insufficient in situations where a third-party business tried to bind a consumer

23   who was already in a contractual relation with another business. (See Opp’n at 10–16

24   (citing Doe v. Massage Envy Franchising, LLC, 87 Cal. App. 5th 23 (2022) (“Massage

25   Envy Franchising, LLC”)).)

26          Finicity counters, arguing that the Court should not consider the context of the
27   transaction in the inquiry notice analysis because “the nonbinding concurrence in

28   Berman relies upon Sellers as a basis for suggesting that the conspicuousness analysis

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 1   expressly incorporate consideration of the context of the transaction.” (Arb. Reply at

 2   3 n.4.) More specifically, Finicity argues that, though context may be relevant, “[t]he

 3   primary, salient inquiry, focuses on the visual elements of the notice[ ]” (id. at 4)

 4   because “the Ninth Circuit has not explicitly incorporated an analysis of the

 5   circumstances surrounding the internet transaction when analyzing conspicuousness

 6   in step one . . . .” (Id. at 7–8 (citing Oberstein, 60 F.4th at 516).)

 7           However, this Court, like the Ninth Circuit, is bound by the decisions of the

 8   California Courts of Appeal absent convincing evidence that the California Supreme

 9   Court would decide differently. See, e.g., Cmty. Nat’l Bank v. Fid. & Deposit Co. of

10   Maryland, 563 F.2d 1319, 1321 n.1 (9th Cir. 1977) (collecting cases). Because whether

11   a valid arbitration agreement was formed is a question of state law, the Court applies

12   Sellers. See, e.g., Nguyen, 763 F.3d at 1175 (citing Hoffman v. Citibank (S. Dakota),

13   N.A., 546 F.3d 1078, 1082 (9th Cir. 2008) (per curiam)). Moreover, the Ninth Circuit

14   has in fact recognized that the analysis considers the totality of the circumstances

15   which necessarily means that the transaction’s context matters for the analysis at step

16   one. See Oberstein, 60 F.4th at 514 (describing the approach in Berman as adopting

17   an “objective, totality-of-the-circumstances standard.”). And as conceded by Finicity at

18   oral argument, there are no prior cases that involved the constructive or inquiry notice

19   framework for contracts between a consumer and what amounts to be a subcontractor

20   or intermediary along the production or service chain. That is, all of the prior cases
21   upon which Finicity relies involve direct transactions between a consumer and an

22   ultimate or retail business that the consumer specifically sought.13

23   13
        See, e.g., Oberstein, 60 F.4th at 512 (rejecting the putative class members’ argument that they did not
     know that they were contracting with Live Nation Entertainment, the parent company of Ticketmaster,
24
     when visiting a website to purchase a ticket through Ticketmaster and Live Nation Entertainment);
     Berman, 30 F.4th at 853 (involving plaintiffs, one of whom had previously visited the defendant’s
25
     website, but both of whom had accessed the websites ran by the defendant to purchase items); Capps
     v. JPMorgan Chase Bank, N.A., No. 2:22-cv-00806-DAD-JDP, 2023 WL 3030990, at *1 (E.D. Cal. Apr. 21,
26
     2023) (involving a plaintiff that “sign[ed] up for ‘CreditWorks,’ a credit monitoring service with
     defendant Experian’s corporate affiliate, ConsumerInfo.com, Inc.[,]” which are all parent-subsidiaries of
27
     each other). Cf. Knutson, 771 F.3d at 569 (“[The plaintiff] could not assent to [the defendant’s]
28   arbitration provision because he did not know that he was entering into a contract with [the
     defendant].”); In re Stubhub Refund Litig., 2023 WL 5092759, at *2 and n.3 (citing Knutson, 771 F.3d at

                                                        34
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 1           The Ninth Circuit’s decision in Oberstein is particularly instructive. See 60 F.4th

 2   at 514–17. There, the court considered a case brought by individuals who had

 3   purchased tickets from Ticketmaster. See id. at 509. In defending against a motion to

 4   compel arbitration, the ticket purchasers, like Plaintiff here, argued that they had not

 5   agreed to the arbitration provision. See id. at 512. In concluding that there had been

 6   sufficient notice of the Terms and Conditions that contained the arbitration clause, the

 7   Ninth Circuit relied on the fact that the notice was “conspicuously displayed directly

 8   above or below the action button at each of three independent stages — when

 9   creating an account, signing into an account, and completing a purchase[,]” that the

10   notice clearly indicated continued use would bind the user to the Terms and

11   Conditions, and that the hyperlink to the Terms and Conditions was “conspicuously

12   distinguished from the surrounding text in bright blue font, making its presence

13   readily apparent.” Oberstein, 60 F.4th at 515–16. Importantly, the Ninth Circuit

14   distinguished Berman and Sellers, not by discounting or ignoring the circumstances

15   surrounding the transaction, but because of them. See id. The court stated: “in

16   contrast with the noncommittal free trial offered in Sellers, the context of this

17   transaction, requiring a full registration process, reflected the contemplation of ‘some

18   sort of continuing relationship’ that would have put users on notice for a link to the

19   terms of that continuing relationship.” Id. at 517.14 Far from disavowing reliance on

20   the circumstances and context of a transaction, Oberstein compels it.
21   ////

22
     565–66; and holding that the “district court did not err in denying StubHub’s motion to compel
23
     arbitration as to [one plaintiff] who signed into the website after his ticket purchase.”).
24   14
        A review of the district court’s decision in Oberstein reflects how different that case is from the
     transaction at issue here. See No. 20-cv-3888-GW-GJSx, 2021 WL 4772885 (C.D. Cal. Sept. 20, 2021),
25
     aff’d 60 F.4th 505 (9th Cir. 2023). In Oberstein, the plaintiffs, aggrieved purchasers complaining about
     paying prices that are higher than would exist in a competitive market, had to specifically search for the
26
     defendant’s website to complete the purchase. See id. at *2. In fact, each plaintiff had made multiple
27   purchases with the defendant on its website or online platform before with each making at least two
     and one making over 40 prior purchases, see id. Moreover, Live Nation Entertainment and Ticketmaster
28   are not unknown businesses.


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 1          In the unique context of this transaction, it is not the case that Finicity engaged

 2   Plaintiff on the Every Dollar app at a time where Plaintiff “signed up for an account[ ]

 3   and entered h[er] [ ] [financial] information with the intention of entering into a

 4   forward-looking relationship with [the defendant].” Sellers, 73 Cal. App. 5th at 477

 5   (quoting Meyer, 868 F.3d at 80). Plaintiff, to even access Finicity’s Disclosure Page,

 6   had to first pay for a service through a premium subscription with Every Dollar that

 7   purportedly gave her access to the bank-linking service provided by the third-party

 8   Finicity. (See Compl. ¶¶ 24–27; Opp’n at 6–10 (citations omitted).) An Internet user

 9   would not have expected to encounter yet another, heretofore unknown third-party in

10   this situation, making it even more important that the Terms and Conditions were

11   displayed in a prominent fashion.

12          Plaintiff’s situation is like Jane Doe in Massage Envy Franchising, LLC, in which

13   the court likewise refused to enforce an arbitration agreement. There, Jane Doe had a

14   monthly membership with an independently owned Massage Envy franchise, which, in

15   exchange for a monthly fee, provided Jane Doe with one massage per month and

16   others at a reduced rate. At one massage, Jane Doe was handed an electronic tablet

17   as part of a check-in process which involved two electronic forms, one of which

18   involved an agreement with Massage Envy Franchising (“MEF”), a separate

19   corporation with which Jane Doe had no prior relationship. See Massage Envy

20   Franchising, LLC, 87 Cal. App. 5th at 26–27. On the “In-Store Application,” MEF
21   provided a clickwrap agreement that first presented a window that contained all of the

22   Terms and Conditions with the franchise location for Jane Doe to scroll through and

23   read, and then presented towards the bottom of that same window a separate

24   hyperlink to the Terms and Conditions with MEF near a disclosure stating “I agree and

25   assent to the Terms of Use Agreement” next to a box that Jane Doe had to check. See

26   id. at 27–29.
27   ////

28   ////

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 1           On the basis of the clickwrap agreement,15 MEF tried to enforce an arbitration

 2   clause. The trial court held that there was no mutual assent, and the appellate court

 3   affirmed, relying in substantial part on the fact that Jane Doe had no prior relationship

 4   with MEF and “had no reason to believe that the check-in process or the massage

 5   involved MEF[ ]” because she “had a pre-existing contractual relationship . . . with the

 6   San Rafael location, to which MEF was not a party” Id. at 31; see id. at32, 34–35.

 7           The same is true in this case, as Plaintiff had just entered into an agreement with

 8   Every Dollar immediately prior to interacting with Finicity for the first and only time via

 9   the Disclosure Page. Compare with Massage Envy Franchising, LLC, 87 Cal. App. 5th

10   at 34 (“Plaintiff here had no reason to expect that checking in for her massage at the

11   San Rafael Massage Envy would involve her entering into any ongoing contractual

12   relationship of any sort with MEF, an entity that was a stranger to her.”). Thus, Plaintiff

13   could have viewed the steps taken to proceed past the Disclosure Page as “part of the

14   process of reviewing, signing, and agreeing to the [Terms and Conditions] between

15   her and the [Every Dollar app], rather than as an indication of assent to an entirely

16   different contract with an entirely different entity.” Id. at 32.

17           The Ninth Circuit has similarly held in another case that the plaintiff could not

18   assent to the defendant’s arbitration provision because the plaintiff did not know that

19   she was entering into a contract with the defendant. See Knutson, 771 F.3d at 569.

20   There, the Ninth Circuit considered the “economic and practical considerations
21   involved in selling services to mass consumers,” id. at 568 (citation omitted), but

22   nevertheless found that the defendant could have required that its affiliates disclose

23   the nature of the defendant’s and affiliate’s relationship or to at least explain the

24   agreement between the defendant and the affiliate to the consumer before then

25   asking for the consumer’s consent. See id. at 567. Finicity could likewise remedy this

26   15
       See Massage Envy Franchising, LLC, 87 Cal. App. 5th at 32–34 (describing why this clickwrap
27   agreement was deficient “in its context[.]”); also Sellers, 73 Cal. App. 5th at 463 (“A ‘clickwrap’
     agreement is one in which an internet user accepts a website’s terms of use by clicking an ‘I agree’ or ‘I
28   accept’ button, with a link to the agreement readily available.” (citations omitted)).


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 1   problem by requiring the FinTech apps like Every Dollar to disclose this relationship,

 2   as Finicity would have a pre-existing relationship with these entities. Alternatively,

 3   Finicity could have used a more robust form of disclosure, such as a clickwrap

 4   agreement that required the user to review the Terms and Conditions before

 5   proceeding. See Oberstein, 60 F.4th at 517 (noting that, while the defendants’ notice

 6   provided reasonably conspicuous notice, “this hybrid form of agreement is not

 7   without its risks and invites second-guessing[,]” and that “clickwrap is the safest

 8   choice.” (citing Berman, 30 F.4th at 868 n.4 (Baker, J., concurring))). Given this

 9   transaction’s context, if the disclosure in Massage Envy Franchising, LLC was not

10   sufficient, which included some functions that made it more akin to a clickwrap

11   agreement by including an “I agree” checkbox, Massage Envy Franchising, LLC, 87

12   Cal. App. 5th at 32, then Finicity’s Disclosure Page cannot be sufficient. See Sellers, 73

13   Cal. App. 5th at 476–77.

14          C.     Conclusion

15          For the above reasons, the Court concludes that Finicity has not established by

16   a preponderance of the evidence that Plaintiff had constructive notice of the linked

17   Terms and Conditions that contained an arbitration clause, and, therefore, that Finicity

18   has failed to prove the existence of an agreement to arbitrate. See Berman, 30 F.4th

19   at 858. The Court accordingly DENIES Finicity’s Motion to Compel Arbitration (ECF

20   No. 17). As a result, the Court need not consider Finicity’s arguments on waiver or
21   striking the class allegations.

22   III.   Motion to Dismis s Under Rule 12(b)(6)

23          A.     Legal Standard

24          A party may move to dismiss for “failure to state a claim upon which relief can

25   be granted.” Fed. R. Civ. P. 12(b)(6). The motion may be granted if the complaint

26   lacks a “cognizable legal theory” or if its factual allegations do not support a
27   cognizable legal theory. Godecke v. Kinetic Concepts, Inc., 937 F.3d 1201, 1208 (9th

28   Cir. 2019) (quoting Balistreri v. Pacifica Police Dep’t, 901 F.2d 696, 699 (9th Cir. 1988)).

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 1   The court assumes all factual allegations are true and construes “them in the light

 2   most favorable to the nonmoving party.” Steinle v. City & Cnty. of San Francisco, 919

 3   F.3d 1154, 1160 (9th Cir. 2019) (quoting Parks Sch. of Bus., Inc. v. Symington, 51 F.3d

 4   1480, 1484 (9th Cir. 1995). If the complaint’s allegations do not “plausibly give rise to

 5   an entitlement to relief[,]” the motion must be granted. Ashcroft v. Iqbal, 556 U.S. 662,

 6   679 (2009).

 7          A complaint need contain only a “short and plain statement of the claim

 8   showing that the pleader is entitled to relief,” Fed. R. Civ. P. 8(a)(2), not “detailed

 9   factual allegations,” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007). But this rule

10   demands more than unadorned accusations; “sufficient factual matter” must make the

11   claim at least plausible. Iqbal, 556 U.S. at 678. In the same vein, conclusory or

12   formulaic recitations of elements do not alone suffice. See id. This evaluation of

13   plausibility is a context-specific task drawing on “judicial experience and common

14   sense.” Id. at 679.

15          B.     Analysis

16                 1.      The UCSPA’s Targeted Solicitations Ban Claim

17          Finicity has two challenges to Plaintiff’s class action claim under the UCSPA’s

18   Targeted Solicitations Ban. First, Finicity argues that the UCSPA “bars class actions for

19   money damages unless the defendant’s actions violate an existing order,

20   administrative rule or consent decree, none of which Plaintiff has pleaded here.”
21   (MTD Reply at 11 (citing Johnson v. Blendtec, Inc., 500 F. Supp. 3d 1271, 1281 (D.

22   Utah 2020)).) Second, Finicity argues that Plaintiff failed to plead her claim with

23   particularity to satisfy Federal Rule of Civil Procedure 9(b). (See id. at 12.)

24          Taking Finicity’s second argument first, Plaintiff satisfies Rule 9(b) and provides

25   “’the who, what, when, where, and how’ of the misconduct charged.” Vess v. Ciba-

26   Geigy Corp. USA, 317 F.3d 1097, 1106 (9th Cir. 2003) (quoting Cooper v. Pickett, 137
27   F.3d 616, 627 (9th Cir. 1997)). The “who” is Finicity. The “what” is the deceptively

28   displayed Disclosure Page. (See Compl. ¶¶ 1, 15, 24, 35–36.) The “where” is every

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 1   location at which a user of a FinTech app connected to their financial institution using

 2   Finicity, which, in Plaintiff’s case, was in California. The “when,” as defined by the

 3   proposed classes (see id. ¶ 67), is every transaction like Plaintiff’s since 2014. The

 4   “how” is the alleged trafficking in counterfeit marks and configuring the Disclosure

 5   Page in a way that does not provide constructive notice. Here, the allegations are

 6   specific enough to give Finicity notice of the particular misconduct so that Finicity can

 7   defend itself, thus satisfying the purposes of Rule 9(b). See Vess, 317 F.3d at 1106

 8   (quoting Bly-Magee v. California, 236 F.3d 1014, 1019 (9th Cir. 2001)).

 9          As for Finicity’s first argument, the Court finds that it is premature at this stage

10   because Plaintiff has not brought forth a motion to certify the classes, and so the

11   question of whether any particular class should be certified and brought is not before

12   the Court. See, e.g., Sergeants Benevolent Ass’n Health & Welfare Fund v. Actavis, plc,

13   No. 15-cv-6549-CM, 2018 WL 7197233, at *51 (S.D.N.Y. Dec. 26, 2018) (“Courts that

14   have examined the class action damages bar under the UCSPA have tended to defer

15   the question of whether an action meets the statutory prerequisites until later stages

16   of the case.”). In particular, the UCSPA generally prohibits class actions seeking

17   recovery of actual damages, see Utah Code Ann. § 13-11-19(2), but § 13-11-19(4)(a)

18   allows a consumer to bring a class action for actual damages if the plaintiff can show

19   that the act or practice was previously announced as prohibited before the consumer

20   transaction on which the action is based was completed. As a result, some courts find
21   it proper to defer consideration of these issues “because [Finicity’s] ‘arguments focus

22   on whether Plaintiff[ ] can pursue class claims under [Utah] state consumer law[ ], not

23   on whether the claims themselves are well pled[,]’ which is the only ‘question [that] is

24   at issue in a Rule 12(b)(6) motion to dismiss.’” Parrish v. Volkswagen Grp. of Am., Inc.,

25   463 F. Supp. 3d 1043, 1062 n.17 (C.D. Cal. 2020) (quoting In re Volkswagen “Clean

26   Diesel” Mktg., Sales Pracs., & Prod. Liab. Litig., 349 F. Supp. 3d 881, 920 (N.D. Cal.
27   2018)). As a result, because the Court has found that Plaintiff’s allegations are

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 1   pleaded with sufficient particularity, the Court reserves the question of whether a class

 2   action for actual damages may proceed until Plaintiff moves to certify such a class.

 3          Because Plaintiff sufficiently pleads “’the who, what, when, where, and how’ of

 4   the misconduct charged[,]” Vess, 317 F.3d at 1106 (quoting Cooper, 137 F.3d at 627),

 5   Plaintiff has a plausible claim. As a result, the Court DENIES Finicity’s Motion to

 6   Dismiss Count Two. (See MTD at 19–21.)

 7                 2.     Utah Unjust Enrichment Claim

 8          Under Utah principles of equity, a cause of action for unjust enrichment

 9   requires the plaintiff to show that: (1) a benefit was conferred; (2) that the defendant

10   appreciated or had knowledge of the benefit; and (3) that the defendant accepted or

11   retained the benefit under circumstances making it inequitable to retain the benefit

12   without making payment of its value. See Thorpe v. Washington City, 2010 UT App

13   297, ¶ 27, 243 P.3d 500 (2010). Finicity argues that Plaintiff cannot state a cause of

14   action for unjust enrichment, because Plaintiff has failed to “‘affirmatively show a lack

15   of an adequate remedy at law on the face of the pleading.’” (MTD Reply at 14

16   (quoting Arnson v. My Investing Place L.L.C., No. 2:12-CV-865, 2013 WL 5724048, at

17   *6 (D. Utah Oct. 21, 2013)).) Finicity’s argument fails for two reasons.

18          First, unlike the plaintiff in Arnson, Plaintiff pleads all of the required elements.

19   Compare with Arnson, 2013 WL 5724048, at *6. The court in Arson dismissed the

20   plaintiff’s claim for failing to (1) affirmatively plead the lack of an adequate remedy at
21   law in the complaint, and (2) allege that the defendant received a benefit. See Arnson,

22   2013 WL 5724048, at *6. Here, Plaintiff alleges that she and the putative class

23   members conferred a benefit on Finicity in the form of the information Finicity

24   obtained through its financial data aggregation (see Compl. ¶ 104), that Finicity

25   appreciated and knew it received this benefit, as shown by Finicity’s monetization of

26   its financial data aggregation (see id. ¶ 105), and that Finicity should not receive this
27   benefit because that would be “unjust because Defendant Finicity was only able to

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 1   obtain the benefit under false pretenses and through deception” (id. ¶ 106). This is

 2   enough to allege the three required elements. See Arnson, 2013 WL 5724048, at *6.

 3          Second, Plaintiff does allege that there is an inadequate remedy at law (see

 4   Compl. ¶ 107), and Plaintiff may plead in the alternative by alleging that there is no

 5   injury under the unjust enrichment claim while also seeking damages or injunctive

 6   relief under the other claims. Under Utah law, it is true that “if a legal remedy is

 7   available, such as breach of an express contract, the law will not imply the equitable

 8   remedy of unjust enrichment.” Johnson, 500 F. Supp. 3d at 1291–92 (quoting Am.

 9   Towers Owners Ass’n, Inc. v. CCI Mech., Inc., 930 P.2d 1182, 1193, 306 Utah Adv. Rep.

10   3 (Utah 1996), abrogated on other grounds by Davencourt at Pilgrims Landing

11   Homeowners Ass’n v. Davencourt at Pilgrims Landing, LC, 2009 UT 65, 221 P.3d 234

12   (Utah 2009)). However, Plaintiff alleges that there is not an adequate remedy, and, at

13   this stage, Plaintiff need not prove that there will not be an adequate remedy because

14   “proof of ‘the absence of an adequate remedy at law is not an element of the prima

15   facie case for unjust enrichment . . . ‘” Johnson, 500 F. Supp. 3d at 1292 (quoting In re

16   Processed Egg Prod. Antitrust Litig., 851 F. Supp. 2d 867, 917 (E.D. Pa. 2012) (citation

17   omitted)).

18          Moreover, dismissal would only be appropriate “’if it appears to a certainty that

19   the plaintiff would be entitled to no relief under any state of facts which could be

20   proved in support of the claim . . . .’” Johnson, 500 F. Supp. 3d at 1293 (quoting AGTC
21   Inc. v. CoBon Energy LLC, 2019 UT App 124, ¶ 22, 447 P.3d 123 (2019)). That is not

22   the case here as Plaintiff’s other claims could fail, thereby leaving her with no remedy

23   at law, which is the point of equitable remedies such as unjust enrichment that are

24   intended to provide a remedy where no legal remedy remains. See, e.g., Rawlings v.

25   Rawlings, 2010 UT 52, ¶ 29, 240 P.3d 754, 763 (Utah 2010) (“We have also noted that

26   unjust enrichment [under Utah state law] plays an important role as a tool of equity:
27   ‘[u]njust enrichment law developed to remedy injustice where other areas of the law

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 1   could not,’ and therefore ‘must remain a flexible and workable doctrine.’” (quoting

 2   Jeffs v. Stubbs, 970 P.2d 1234, 1245, 351 Utah Adv. Rep. 3 (Utah 1998))).

 3          Accordingly, the Court DENIES Finicity’s Motion to Dismiss Count Three. (See

 4   MTD at 23–24.)

 5                 3.      CAPA Claim

 6          Finicity has two arguments challenging Count Four concerning Plaintiff’s CAPA

 7   claim. Finicity’s first argument rests on Finicity establishing mutual assent, which

 8   would preclude finding that Plaintiff was deceived or that Finicity misrepresented itself

 9   to Plaintiff as a financial institution. (See MTD Reply at 12–14.) Having found that the

10   Disclosure Page does not provide reasonably conspicuous notice, see supra Part II.B,

11   Finicity’s first argument fails. Finicity’s second argument is that Plaintiff fails to state a

12   claim. (See MTD at 21–22.) Finicity seems to argue that Plaintiff must establish that

13   the conduct alleged falls within the scope of “’phishing,’ the very activity the Act

14   protects against.” (MTD at 21.) But the California Legislature has already provided a

15   definition of “phishing” for this Court, which is an “unlawful request[ ] by

16   misrepresentation[,]” and, more specifically, is when “any person, by means of a Web

17   page, electronic mail message, or otherwise through the use of the Internet, [ ]

18   solicit[s], request[s], or take[s] any action to induce another person to provide

19   identifying information by representing itself to be a business without the authority or

20   approval of the business.” Cal. Bus. & Prof. Code § 22948.2 (emphasis added); see
21   also id. § 22948.1 (defining the italicized terms in § 22948.2). According to the

22   California Legislature’s definition of “phishing,” Finicity’s alleged conduct falls within

23   the scope of CAPA because: (1) Finicity mispresented itself to be the financial

24   institution for consumers by using counterfeit marks (see Compl. ¶¶ 2, 35–36 and

25   Figures 3–4, 10–18) when (2) “taking action” by deceptively displaying the Disclosure

26   Page that does not provide reasonably conspicuous notice (see Compl. ¶¶ 24–36 and
27   Figures 7–18) to (3) obtain “identifying information” in the form of the account

28   password and unique username that can be used to access an individual’s financial

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 1   accounts. See Cal. Bus. & Prof. Code §§ 22948.1–2. That is enough to state a claim

 2   under CAPA. See Gonzalez v. Bryant, No. 2:19-cv-02155-MCE-CKD, 2021 WL

 3   3662944, at *2 (E.D. Cal. Aug. 18, 2021) (“Cases discussing [CAPA] are limited, but

 4   claims defeating motions to dismiss appear to follow the plain language of the statute,

 5   and involve such circumstances, by way of example, as when a defendant induces the

 6   provision of account credentials by falsely representing itself as a representative of a

 7   plaintiff’s financial institution.”).

 8          As for a remedy, CAPA authorizes relief for a person that was “adversely

 9   affected by a violation of Section 22948.2 . . . [and] only against a person who has

10   directly violated Section 22948.2.” Id. § 22948.3(a)(2). Here, Finicity directly

11   “violated” CAPA to the extent that it did not have a license to use the allegedly

12   counterfeit marks. Plaintiff was “adversely affected by [Finicity’s] violation of Section

13   22948.2,” id. § 22948.3(a)(2), by losing control over her personal information, see

14   (Compl. ¶¶ 15, 18, 53, 85;) Eichenberger, 876 F.3d at 983, and having to monitor her

15   credit (see Compl. ¶ 59). These allegations are sufficient at this stage, as these were

16   the sorts of harms envisioned by the California Legislature. See CAPA’s Second

17   Senate Floor Analyses, at 2. Compare with Gordon v. Virtumundo, Inc., 575 F.3d 1040,

18   1053 (9th Cir. 2009) (defining “adversely affected by” in the Controlling the Assault of

19   Non-Solicited Pornography and Marketing or “CAN-SPAM” Act of 2003, 15 U.S.C.

20   § 7701, et seq., by reference to the harms identified in the Committee Report).
21          Therefore, the Court DENIES Finicity’s Motion to Dismiss Count Four of the

22   Complaint. (See MTD at 21–22.)

23                  4.      Tolling and Statutes of Limitations

24          Finally, Finicity argues that any statute of limitations period has passed and that

25   equitable tolling would not apply to save Plaintiff’s claims. (See MTD Reply at 15.)

26   However, as the parties concede, equitable tolling is generally determined by matters
27   outside of the pleadings (see Opp’n at 34–35; MTD Reply at 15). Moreover, it is not

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 1   clear from the face of the Complaint that the claim is time-barred. Finicity may renew

 2   its statute of limitations argument at the appropriate time.

 3          C.     Conclusion

 4          For the reasons set forth above, the Court DENIES Finicity’s Motion to Dismiss

 5   Counts 2, 3, and 4 of the Complaint (ECF No. 19).

 6   IV.    Motion to Transfer Venue

 7          A.     Legal Standard

 8          A transfer motion made under 28 U.S.C. § 1404(a) requires two findings:

 9   (1) that the proposed court is one where the action might have been brought, and

10   (2) that the convenience of the parties and witnesses in the interest of justice favor

11   transfer. See Hatch v. Reliance Ins. Co., 758 F.2d 409, 414 (9th Cir. 1985). For the first

12   part of the test, courts look to whether an action “might have been brought” in that

13   district by reference to whether that court would have original jurisdiction over the

14   matter and venue would be proper. See id. (citing Hoffman v. Blaski, 363 U.S. 335,

15   343–44 (1960) and Van Dusen v. Barrack, 376 U.S. 612, 620 (1964)). For the second

16   part of the test, courts look to the factors used at common law for establishing forum

17   non conveniens, but require a lesser showing of inconvenience than that required for

18   dismissal. See Norwood v. Kirkpatrick, 349 U.S. 29, 32 (1955). Section 1404(a) is

19   intended to place discretion in the district court to adjudicate motions for transfer

20   according to an “individualized, case-by-base consideration of convenience and
21   fairness.” Stewart Org., Inc. v. Ricoh Corp., 487 U.S. 22, 29 (1988) (quoting Van Dusen,

22   376 U.S. at 622).

23          Where no forum selection clause is involved, a district court considering a

24   transfer motion under 28 U.S.C. § 1404(a) must evaluate both the convenience of the

25   parties and various public-interest considerations. See Atl. Marine Const. Co. v. U.S.

26   Dist. Ct. for W. Dist. of Texas, 571 U.S. 49, 62 and n.6 (2013). The relevant private
27   interests to consider are: (1) the relative ease of access to sources of proof; (2) the

28   availability of compulsory process for attendance of unwilling witnesses, and the costs

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 1   of obtaining attendance of willing witnesses; (3) the possibility to view the premises, if

 2   view would be appropriate to the action; and all other practical considerations that

 3   make conducting a trial easy, expeditious, and inexpensive. See id. (quoting Piper

 4   Aircraft Co. v. Reyno, 454 U.S. 235, 241 n.6 (1981)). Relevant public-interest factors

 5   include: (1) the administrative difficulties flowing from court congestion; (2) the local

 6   interest in having localized controversies decided at home; and (3) the interest in

 7   having the trial of a diversity case in a forum that is at home with the law. See id. The

 8   Ninth Circuit has identified the following factors as also being relevant: (1) the location

 9   of where the relevant agreements were negotiated and executed; (2) the respective

10   parties’ contacts with the forum; (3) the contacts relating to the plaintiff’s cause of

11   action in the chosen forum; and (4) the difference in the costs of litigation in the two

12   forums. See Jones v. GNC Franchising, Inc., 211 F.3d 495, 498–99 (9th Cir. 2000).

13          Finally, the plaintiff’s choice is owed deference because the plaintiff is

14   presumed to have picked her convenient home forum. See, e.g., Ranza v. Nike, Inc.,

15   793 F.3d 1059, 1076 (9th Cir. 2015) (quoting Piper Aircraft Co., 454 U.S. at 255). This

16   deference is “far from absolute,” id. (quoting Lockman Found. v. Evangelical All.

17   Mission, 930 F.2d 764, 767 (9th Cir. 1991)), particularly where the plaintiff brings a

18   class or derivative action claim, see, e.g., Lou v. Belzberg, 834 F.2d 730, 739 (9th Cir.

19   1987). But “less deference is not the same thing as no deference.” Ayco Farms, Inc. v.

20   Ochoa, 862 F.3d 945, 950 (9th Cir. 2017) (quoting Ravelo Monegro v. Rosa, 211 F.3d
21   509, 514 (9th Cir. 2000)). The plaintiff’s choice is only “entitled to minimal

22   consideration” where “the operative facts have not occurred within the forum and the

23   forum has no interest in the parties or subject matter[.]” Lou, 834 F.2d at 739.

24          B.     Analysis

25          For step one, venue would be proper in Utah. Finicity is domiciled there, and

26   there would still be minimal diversity under the Class Action Fairness Act. See 28
27   U.S.C. § 1391(b)(1). For step two, the Court concludes that, because the factors cut

28   both ways, Plaintiff’s choice of forum, even if owed less deference, is still “entitled to

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 1   [more than] minimal consideration[,]” Lou, 834 F.2d at 739 (citing Pac. Car & Foundry

 2   Co. v. Pence, 403 F.2d 949, 954 (9th Cir. 1968)).

 3          The private interests, on net, favor Utah. Most of the evidence will be in Utah

 4   (or New York), where this Court will not have the ability to compel third-party

 5   testimony as those parties will be beyond the100 mile range of this Court’s jurisdiction

 6   under Federal Rule of Civil Procedure 45(c), even through video testimony, see In re

 7   Kirkland, 75 F.4th 1030, 1051–52 (9th Cir. 2023). However, there is no need to view

 8   any premises in Utah, and most of the relevant evidence from Finicity will come in the

 9   form of documents, not testimony, thus reducing any inconvenience of having venue

10   in California.

11          The public interest factors favor both venues. Even though the Eastern District

12   has a heavy caseload, the District of Utah is not appreciably faster at taking cases to

13   trial. (See MTD Reply at 3 n.2.) Similarly, even though there are two claims under Utah

14   state law (Counts Two and Three raising the UCSPA’s Targeted Solicitations Ban claim

15   and the Utah unjust enrichment claim, respectively), Plaintiff also brings a claim under

16   CAPA, and the Utah unjust enrichment claim is not a claim but an alternative pleading

17   that can only arise if there is no other claim or remedy, meaning that there is only one

18   substantive state-law claim for each State from which Plaintiff can recover. Finally,

19   Finicity contends that a Utah court should be the first to hear a case regarding the

20   UCSPA’s Targeted Solicitations Ban. (See MTD at 10–11.) But unlike the cases Finicity
21   cites, the UCSPA’s Targeted Solicitations Ban is not part of “an area of [Utah] law that

22   has been persistently problematic for [Utah] courts[,]” Clisham Mgmt., Inc. v. Am. Steel

23   Bldg. Co., 792 F. Supp. 150, 158 (D. Conn. 1992), or that “require[s] the application of

24   a complex body of law to the vast universe of facts uncovered by” discovery. Sheffer v.

25   Novartis Pharms. Corp., 873 F. Supp. 2d 371, 380 (D.D.C. 2012).

26          The factors identified by the Ninth Circuit favor California, even if only slightly.
27   Plaintiff’s only contacts are in California, and, more specifically, in the Eastern District.

28   (See Compl. ¶ 15.). For costs, both states are expensive, but the costs would be

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 1   greater to Plaintiff, as an individual, even if as a class representative, to litigate in Utah

 2   than it would be for Finicity, a multinational corporation, to litigate in California. See,

 3   e.g., In re Ferrero Litig., 768 F. Supp. 2d. 1074, 1081 (S.D. Cal. 2011) (quoting Shultz v.

 4   Hyatt Vacation Mktg. Corp., No. 10-CV-04568-LHK, 2011 WL 768735, at *6 (N.D. Cal.

 5   Feb. 28, 2011)); Sheffer, 873 F. Supp. 2d at 376 (citing Veney v. Starbucks Corp., 559

 6   F. Supp. 2d 79, 84 (D.D.C. 2008)).

 7          C.     Conclusion

 8          Even though there are arguments on either side, Plaintiff’s choice of forum is

 9   still entitled to deference because her cause of action arose in the Eastern District and

10   she is at home here. Where, as here, transfer would do no more than shift the burden

11   or inconvenience, the movant has not met its burden. See Shultz, 2011 WL 768735, at

12   *6 (“Transfer is not appropriate if it simply shifts the inconvenience from one party to

13   another.” (citing Decker Coal Co. v. Commonwealth Edison Co., 805 F.2d 834, 843

14   (9th Cir. 1986))). As a result, the Court DENIES Finicity’s Motion to Transfer Venue.

15                                              ORDER

16          For the reasons set forth above, the Court: (1) DENIES Finicity’s Motion to

17   Compel Arbitration (ECF No. 17) and (2) GRANTS IN PART AND DENIES IN PART

18   Finicity’s Motion to Transfer Venue or, in the Alternative, Dismiss Complaint (ECF No.

19   19). Specifically, the Court GRANTS Finicity’s Motion to Dismiss Count One of the

20   Complaint, the RICO claim, with leave to amend. However, the Court DENIES
21   Finicity’s Motion to Dismiss the remaining counts. Plaintiff has 30 days from this

22   Order’s docketing to file the Amended Complaint.

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            IT IS SO ORDERED.
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25   Dated:      February 12, 2024
                                                     Hon. Daniel J. Calabretta
26                                                   UNITED STATES DISTRICT JUDGE
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 1                                                APPENDIX

 2   I.      Appendix A – Figure 8 of the Complaint: The Disclsoure Pag e 16

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       (See Compl. at 12; ECF No. 21 ¶¶ 5–8 (declaring the veracity of Figure 8 as “The screenshot reflected
     in Figure 8 to Plaintiff’s Complaint and reproduced below (the ‘Disclosure Page’) accurately depicts the
27
     format and content of the information presented to users of Finicity’s services that allow users to
28   connect their financial accounts with personal finance-related apps.”).)



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 1   II.    Appendix B – Sign-in Windows That Provided Reasonably
            Conspicuous Notice.
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            A.      Singh Webpage Sign-in Window17
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        See Decl. of Jeremy Davie in Supp. of Defendant Payward, Inc.’s Mot. to Compel Arbitration (ECF No.
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     12-2) at 5, Singh v. Payward, Inc., No. 3:23-cv-01435-CRB, 2023 WL 5420943 (N.D. Cal. Aug. 22, 2023)
28   (citation for decision).



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 1             B.      Hooper Webpage Sign-in Window18

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12             C.      Houtchens FitBit Windows Webpage Sign-in Windows19

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       See Hooper v. Jerry Ins. Agency, LLC, --- F. Supp. 3d ----, No. 22-cv-04232-JST, 2023 WL 3992130, at
     *1 (N.D. Cal. June 1, 2023).
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          See Houtchens v. Google LLC, 649 F. Supp. 3d 933, 940–41 (N.D. Cal. 2023).



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 1         D.    Houtchens Fitbit Website Sign-in Window

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14         E.    Houtchens Fitbit Mobile Webpage Sign-in Window

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     Case 2:23-cv-01005-DJC-AC Document 37 Filed 02/13/24 Page 53 of 64


 1          F.      Houtchens Fitbit MacOSX Webpage Sign-in Window

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17          G.      Oberstein Webpage Sign-in Window20

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      (See ECF No. 22-1 at 2.) See also Oberstein v. Live Nation Ent., Inc., No. CV 20-3888-GW-GJSx, 2021
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28   WL 4772885, at *1 (C.D. Cal. Sept. 20, 2021), aff’d, 60 F.4th 505 (9th Cir. 2023).



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 1          H.      Capps and Saucedo Webpage Sign-in Windows21

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       (See ECF No. 22-2 at 2.) See also Capps v. JPMorgan Chase Bank, N.A., No. 2:22-cv-00806-DAD-JDP,
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     2023 WL 3030990 (E.D. Cal. Apr. 21, 2023); Saucedo v. Experian Info. Sols., Inc., No. 1:22-cv-01584-
28   ADA-HBK, 2023 WL 4708015 (E.D. Cal. July 24, 2023).



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 1          I.      Pizarro Webpage Sign-in Window22

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       See Pizarro v. QuinStreet, Inc., No. 22-cv-02803-MMC, 2022 WL 3357838, at *1 (N.D. Cal. Aug. 15,
28   2022).



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 1          J.      In re Stubhub Refund Litig. Webpage Sign-in Window23

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       See In re Stubhub Refund Litig., No. 22-15879, 2023 WL 5092759, at *2 (9th Cir. Aug. 9, 2023) (mem.)
28   (non-precedential).



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 1   III.      Appendix C – Sign-in Windows That Did Not Provide Reasonably
               Conspicous Notice.
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               A.      Sellers Webpage Sign-in Window24
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          See Sellers v. JustAnswer LLC, 73 Cal. App. 5th 444, 454 (2021).



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 1         B.    Sellers Mobile Webpage Sign-in Window

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 1             C.      Berman Webpage Sign-in Window25

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          See Berman v. Freedom Fin. Network, LLC, 30 F.4th 849, 859–61 (9th Cir. 2022).



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 1         D.    Berman Mobile Webpage Sign-in Window

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 1          E.      In re Stubhub Refund Litig. Mobile Webpage Sign-in Window26

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       See In re Stubhub Refund Litig., No. 22-15879, 2023 WL 5092759, at *2 (9th Cir. Aug. 9, 2023) (mem.)
28   (non-precedential).



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 1          F.      Sadlock Email Sign-in Window27

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       See Sadlock v. Walt Disney Co., No. 22-cv-09155-EMC, 2023 WL 4869245, at *4 (N.D. Cal. July 31,
28   2023).



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 1             G.      Serrano Webpage Sign-in Window28

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          See Serrano v. Open Rd. Delivery Holdings, Inc., 666 F. Supp. 3d 1089, 1093 (C.D. Cal. 2023).



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 1          H.      Chabolla Webpage Sign-in Window29

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       See Decl. of Nina Bayatti in Supp. of Def.’s Mot. to Compel Arbitration and Dismiss and/or Stay Case
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     Ex. 1 (ECF No. 18-1), at 8, Chabolla v. ClassPass Inc., No. 4:23-CV-00429-YGR, 2023 WL 4544598 (N.D.
28   Cal. June 22, 2023) (providing citation for decision).



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